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             EXHIBIT B
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Attachments

Attachment 1: Curriculum Vitae

Attachment 2: Summary of Penalty Calculations

Attachment 3: Gravity Component by Month, Certain Violations Excluded

Attachment 4: Gravity Component by Month, All Alleged Violations

Attachment 5: Rainfall Data for Selected Months



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Attachment 6: Summary of Administrative Orders on Consent

Attachment 7: Summary of Consent Decrees

Attachment 8: Summary of Cases Brought by States and Citizens Groups

Attachment 9: Documents Received and Considered




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1.0     QUALIFICATIONS

I am a Director at Gnarus Advisors LLC (“Gnarus”), a consulting firm that provides economic,
financial, and environmental analysis, expert testimony, litigation support, regulatory analysis,
strategic management consulting, and other services to a broad range of public and private
enterprises. I am resident in the firm’s Palo Alto, California, office. My business address is
2479 East Bayshore Road, Suite 150, Palo Alto, California.

In my professional career of over 30 years, I have focused on cleanup of contaminated sites,
compliance with environmental laws and regulations, and development of government and
corporate policies and systems for achieving effective cleanup actions and ensuring the efficacy
of environmental compliance programs. I have focused particularly on matters where legal,
technical and policy issues converge. I am a registered professional engineer in the State of
California.

I received a Bachelor of Science degree in Civil Engineering from Stanford University and a
Master of Science degree in Environmental Engineering and Science from Stanford University.
I then joined the United States Environmental Protection Agency (“EPA”) Region IX as a
Remedial Project Manager (“RPM”) in the EPA Superfund Program, created in response to
passage of the Comprehensive Environmental Response, Compensation and Liability Act
(“CERCLA”). Among other things, CERCLA created a federal fund, commonly called the
“Superfund,” to pay for response actions at contaminated sites. I was responsible for directing
EPA’s investigation and cleanup actions at various sites that were listed on EPA’s National
Priorities List (“NPL”), commonly considered the list of the worst Superfund sites in the country.
I also advised colleagues on investigation and cleanup work on other NPL sites and performed
evaluations at non-NPL sites. I led EPA’s technical and programmatic efforts to develop and
implement enforcement actions to compel responsible parties to take response actions for
hazardous substance releases and to negotiate agreements to guide such actions. I also
oversaw private-party response actions. Among other things, my work involved ensuring that
the response actions complied with the National Contingency Plan, 40 CFR Part 300 et seq.
(“NCP”).

I subsequently joined EPA Region IX’s Water Management Division as an Inspector and
Compliance Officer. I inspected facilities regulated through the Clean Water Act (“CWA”)
National Pollutant Discharge Elimination System (“NPDES”) and pretreatment programs. I
drafted inspection reports and advised discharging facilities on measures to improve their
operations and to correct violations of CWA requirements. I developed enforcement cases to
compel cessation of unauthorized discharges and to correct deficiencies. I was involved in
negotiating agreements with violators that guided the implementation of corrective measures
and payment of appropriate penalties. I also oversaw private party response actions to control
releases of hazardous substances to groundwater that were being implemented pursuant to the
CWA.

I then became Chief of EPA Region IX’s RCRA Enforcement Section. I was responsible for all
matters related to EPA’s enforcement of the Resource Conservation and Recovery Act
(“RCRA”), including inspection of RCRA-regulated facilities, development of enforcement
actions for violations of RCRA requirements, negotiation of agreements to settle such actions,
oversight of regulated entities’ correction of violations, and development of policies and systems
to enhance EPA’s performance of these activities. I also developed and implemented EPA


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Region IX’s RCRA corrective action program, the RCRA site cleanup program that is analogous
to the Superfund program. Among other aspects of this work, I was responsible for ensuring
that regulated entities investigated and took appropriate action to clean up releases of
hazardous waste and its constituents. I also oversaw the development and implementation of
enforcement actions to compel response actions, and I negotiated settlement agreements to
resolve such actions and guide site cleanup efforts. This work involved ensuring that actions
performed were consistent with EPA guidelines similar to the NCP requirements.

I subsequently became an Assistant Director of the Arizona Department of Environmental
Quality (“ADEQ”). I headed the Office of Waste Programs (now the Waste Programs Division)
and was responsible for the development and implementation of all of ADEQ’s waste-related
programs, including ADEQ’s various site cleanup programs. In that capacity I oversaw all of
ADEQ’s work related to the investigation and cleanup of sites contaminated with hazardous
substances, hazardous waste, deleterious solid waste, and other chemicals or wastes that
potentially posed threats to human health or the environment. This work occurred at sites on
the NPL, sites on Arizona’s Water Quality Assurance Revolving Fund (“WQARF”) Priority List,
solid waste management sites, sites being investigated or cleaned up pursuant to ADEQ
enforcement actions, and sites being investigated or cleaned up by responsible parties
voluntarily under ADEQ’s oversight. As of October 1993, ADEQ managed, oversaw, or took
legal action related to 71 contaminated sites. Of these, ten sites were listed on the NPL and 25
sites were on the WQARF Priority List (two of these were located at an NPL site). I also
oversaw ADEQ’s work related to the investigation and cleanup of leaking underground storage
tanks in Arizona.

I worked closely with my counterpart who headed the State Office of Water Programs on
matters that involved compliance with the CWA and Arizona water quality and water resource
laws, including the issuance of enforcement actions issued under both waste and water laws.

My work in all government positions included addressing multi-statute compliance issues. In
addition to enforcing CERCLA, RCRA, and the CWA as discussed above, I was involved in
compliance and enforcement matters pursuant to the Clean Air Act (“CAA”), the Safe Drinking
Water Act (“SDWA”), the Emergency Planning and Community Right to Know Act (“EPCRA”),
and the Toxic Substances Control Act (“TSCA”), among others.

I left government service to become a consultant to companies and public organizations that
need assistance with environmentally related issues. I have performed a wide range of
engagements for clients related to their obligations to investigate and clean up contaminated
sites and to comply with environmental requirements. I have advised clients on compliance
matters related to most federal environmental laws and many related state statutes, and I have
assisted clients in resolving and defending enforcement actions taken by regulatory agencies for
alleged violations of environmental requirements. I have performed these services, among
others, in a consulting and/or expert witness capacity.

A copy of my curriculum vitae is provided in Attachment 1. Gnarus Advisors LLC is being
compensated for my services in this matter at a rate of $510 per hour.

2.0     ASSIGNMENT

I have been retained by Fowler Rodriguez on behalf of AIG to provide opinions regarding work
performed by Oscar Renda Contracting, Inc. (“ORC”) during a large construction project in East
Biloxi, MS, which is the subject of the complaint the Gulf Restoration Network (“GRN”) filed in this


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action. Specifically, I have been asked to provide opinions on the financial penalty that would
be appropriate to assess for conditions that existed on various dates, such as those identified by
Ms. Renee Robertson in her expert report of October 24, 2017, which she asserts constituted
violations of federal and Mississippi stormwater 1 requirements. I have been asked to determine
that penalty under two scenarios.

      1. Scenario 1 assumes that all violations Ms. Robertson alleges are found to constitute
         violations, except for (a) conditions for which factual information indicates they could not
         constitute violations, and (b) conditions for which Ms. Robertson does not make a specific
         allegation of noncompliance.

      2. Scenario 2 assumes that all violations Ms. Robertson alleges are found to constitute
         violations.

3.0      SUMMARY OF OPINIONS

Based on the analysis described in this report, I have developed the following opinions with a
reasonable degree of professional certainty.

      1. For Scenario 1, which excludes from consideration certain conditions that Ms. Robertson
         contends existed on various dates, I have conservatively determined that an appropriate
         penalty for those 27 remaining violations she alleges would fall within the range of $29,200
         to $51,800. The calculation of these amounts is shown in Attachments 2 and 3.

      2. For Scenario 2, which includes all violations that Ms. Robertson alleges occurred on
         various dates, I have conservatively determined that an appropriate penalty for those 32
         alleged violations would fall within the range of $29,700 to $52,600. The calculation of
         these amounts is shown in Attachments 2 and 4.

      3. The penalty ranges I have conservatively determined are appropriate for the alleged
         violations are consistent with penalties EPA has obtained for violations of construction
         stormwater requirements in civil judicial cases nationwide and administrative enforcement
         actions brought by EPA Region 4, as well as penalty determinations made by state courts
         and a consent judgment that resolved a citizen suit case.

      4. Ms. Robertson’s opinions are limited in scope and rely on unverified assumptions,
         rendering them poorly supported or baseless.

4.0      WORK PERFORMED

         4.1     General Process

In forming the opinions expressed in this report, my staff and I reviewed and analyzed the
documents listed in Attachment 9. My staff and I discussed with counsel the nature and scope
of the assignment, the background of this case, the information needed for my analysis, and
various questions that arose in the course of the analysis.




1 While some authors use the term “storm water,” the term “stormwater” appears more frequently,
including by Ms. Robertson. Therefore, I use the latter term in this report.


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I studied the factual record as presented in the documents, evaluated the requirements
applicable to the work performed, and applied my experience over more than 30 years of
working in the environmental compliance, enforcement, and penalty assessment field.

        4.2      Documents Used

In addition to the documents referenced above, I also rely on the knowledge I have accumulated
over the course of my career from statutes, regulations, government policies, government
guidance, other regulatory documents, professional publications, and various other types of
information. I did not attempt to list in the documents referenced above all such information that
I have used as background knowledge in my work in this matter.

        4.3      Limitations

This report is based on information reviewed to date. I reserve the right to revise and/or amend
this report as additional information becomes available to me, including, but not limited to, other
experts’ opinions, rebuttal opinions, deposition testimony, and additional documents.

                                BASES AND REASONS FOR OPINIONS

5.0     Background

In 2014, ORC was contracted by the City of Biloxi to complete the East Biloxi Street Repair
Program infrastructure project. 2 The project was sub-divided into eight different contiguous
project areas. As part of this construction work, ORC was obligated to maintain stormwater
controls to prevent the potential runoff of pollutants from disturbed areas. Each of the eight
areas of the project had its own Stormwater Pollution Prevention Plan (“SWPPP”) meant to
guide the design, implementation, and maintenance of stormwater controls.

GRN filed a complaint in April 2017 alleging that ORC had not properly implemented and
maintained stormwater controls, among other allegations. 3 In her expert report dated October
24, 2017, Ms. Robertson presents an analysis of conditions that allegedly existed within the
construction area on various dates that she contends violated stormwater requirements. As
evidence to support her allegations, she relies on photographs and short video clips that she
refers to as “videos.”

6.0     Ms. Robertson’s opinions are limited in scope and rely on unverified assumptions,
        rendering them poorly supported or baseless.

Ms. Robertson alleges three types of violations in her report: that there were no stormwater
controls; that Best Management Practices (“BMPs”) were not properly designed, implemented,
or maintained; and that turbid water was discharged into or found within waters of the U.S. She
alleges that the violations occurred in six different months: June 2016 and February 2017
through June 2017.


2 City of Biloxi, Standard Form of Agreement Between Owner and Contractor on the Basis of a Unit Price

between the City of Biloxi and Oscar Renda Contracting, Inc., May 6, 2014.
3Complaint for Declaratory Relief, Injunctive Relief, and Penalties, Gulf Restoration Network v. Oscar
Renda Contracting (Civil No. 1:17-cv-130-LG-RHW, S.D. Miss., April 27, 2017).



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The scope of Ms. Robertson’s report and opinions are narrow. While she reviewed various
background documents, such as ORC’s SWPPPs and a Mississippi Department of
Environmental Quality (“MDEQ”) Notice of Violation (“NOV”), 4 her analysis and allegations that
ORC violated stormwater requirements appear to be based solely on a review of photographs
and videos. Specifically, GRN’s counsel provided her with 32 photographs and 11 videos 5 out
of the more than 1,800 photographs and videos that GRN provided ORC as part of its document
production. 6 Of the 43 images Ms. Robertson received, she analyzes only 27 photographs and
videos in her report. The text of her report does not reference, much less discuss, the other 16
images. It also appears that GRN’s counsel did not provide her with a table it prepared in
response to an ORC interrogatory that lists more than 1,100 photographs and videos and
identifies complaint claims that GRN believes relate to those images, much less ask her to
review, verify, and comment upon the conclusory allegations in the table and associated
images. 7 Given the limited scope of her analysis, I have limited the scope of mine accordingly
and focus on the analysis provided in her report. The limited scope of her analysis results in her
offering opinions that are baseless. For example, she states in her report that the “photographs
and videos reviewed were assessed to provide representative examples of the types of
situations in which there is non-compliance with the relevant requirements” and that “the
representative photographs or videos can be used to assess compliance in other photographs
and videos of the project.” 8 It is unclear what “other photographs and videos of the project” she
refers to. Given that she only received 43 images, she may refer to the other 16 images she
does not discuss in her report. She certainly has no basis to make any assertions about
conditions shown in the other nearly 1,800 images she did not review.

Not only are the scope of Ms. Robertson’s report and opinions narrow, she appears to have no
support for those opinions other than the 43 photographs and videos GRN’s counsel provided
her, or perhaps only the 27 images she discusses in her report. Ms. Robertson does not appear
to have visited the site or performed any field analysis before she issued her report. She may
have discussed the photographs and videos with others and may have obtained the location of
the images from others, but her report does not mention any such discussions. More
importantly, it is unclear if she independently verified where those images were taken and the
nature of the surrounding conditions, given that one of the locations is identified incorrectly. 9
Rather than perform the work needed to fully support all of her opinions, she relies on a set of
assumptions that she did not verify and that in some cases are incorrect. For example:



4   Letter from Austin Byrd (MDEQ) to Janie Rodriguez (ORC), May 16, 2017.
5Memorandum from Renee Robertson, P.E., (Anchor QEA), to Robert Wigygul (Waltzer Wiygul &
Garside Law Firm), Appendix A, October 24, 2017 (“Robertson Report”).

6 GRN’s Index to Initial Disclosures, Photo and Video, Gulf Restoration Network v. Oscar Renda

Contracting, S.D. Miss., Civil No. 1:17-cv-130-LG-RHW.
7Gulf Restoration Network’s Supplemental Responses to Defendant’s First Set of Interrogatories to
Plaintiff, Exhibit 1, Gulf Restoration Network v. Oscar Renda Contracting, S.D. Miss., Civil No. 1:17-cv-
130-LG-RHW.

8   Robertson Report, 3.
9 For example, the video identified as being taken at “Auguste Bayou, Bradford, and Braun” was actually
taken at the Lee Street near Suarez Street, as discussed further in my analysis of the alleged violations in
April 2017.


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        •    She assumes that “all areas shown in the photographs and videos were required to
             have erosion and sediment stormwater controls installed per the SWPPPs and the
             LCSWGP [Large Construction Storm Water General Permit for Land Disturbing
             Activities of Five (5) or More Acres].” However, without having made the fundamental
             factual and regulatory determination that specific requirements apply to an alleged
             condition, she cannot assert that any requirement was violated.

        •    She also assumes that “all areas shown in the photographs and videos are located in
             the construction zone and are receiving runoff from the construction site.” But this
             condition must be determined factually in order to allege noncompliance with
             stormwater requirements. Therefore, without offering a fact-based opinion on the
             applicability of a requirement, she cannot assert that it was violated.

        •    Similarly, by assuming that “[t]here are no large disturbed areas other than the
             construction project draining to this area[,]” she has avoided making another important
             factual determination necessary to assert that ORC violated certain requirements.

        •    Rather than simply assuming that “[a]ll pipes and inlets were connected to the
             downstream stormwater system and discharged to outfalls[,]” she must make a factual
             determination of these conditions in order to allege that stormwater requirements
             applied to the inlets she evaluates. Without knowing if such conditions exist, her
             assertions of noncompliance are baseless. In fact, several inlets do not connect to
             pipes that ultimately discharge to outfalls, as I discuss later.

        •    She inappropriately relies on an assumption that “[s]tormwater controls were not
             installed downstream of the locations of the photographs and videos.” Had Ms.
             Robertson performed a field evaluation and/or performed other factual evaluations,
             she could have determined the extent of such controls. By merely assuming this
             condition, her assertions are meaningless.

        •    She assumes that “[w]ith respect to the requirements relating to stabilization of soils
             with mulching, grassing, or other techniques, the disturbed soil and stockpiles were left
             undisturbed or unattended for 14 days or more.” This too is an essential element of a
             noncompliance determination. Without making this needed factual assessment, her
             assertions are baseless.

For these reasons, it is clear that Ms. Robertson’s opinions are limited in scope and rely on
unverified assumptions, rendering them poorly supported or baseless.

7.0     Penalty calculation based on application of the EPA Penalty Policy

In this Section 7, I describe the process I followed to determine a range within which an
appropriate financial penalty for the violations Ms. Robertson alleges would fall, based on
application of the relevant EPA penalty policy to the information presented in Ms. Robertson’s
report and other information I obtained. Once I calculated those penalty ranges under the two
scenarios described earlier, I compared those values to penalties obtained in other cases that
involved alleged violations of construction stormwater requirements, as discussed in Section 8.




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             7.1   EPA Penalty Policy

In 1995, EPA issued the Interim Clean Water Act Settlement Penalty Policy to guide settlement
of various types of Clean Water Act cases. In 2008, EPA published the Supplemental Guidance
for Violations of the Construction Storm Water Requirements. For this report, I refer to the two
documents collectively as the “Penalty Policy.” 10 Among the purposes, the Penalty Policy is
intended to ensure penalties are “generally consistent across the country” and “provide[] fair and
equitable treatment [of] the regulated community wherever they may operate.” 11 EPA believes
penalties should be based on “a logical calculation methodology to promote swift resolution of
enforcement actions and the underlying violations.” 12 The Penalty Policy states that it is meant
as an internal tool for assessing appropriate settlement penalties and not intended for use at a
hearing or trial. 13 Nonetheless the concepts presented in the policy are relevant to any
determination of an appropriate penalty for violations of stormwater requirements, whether the
penalty is assessed through settlement discussions, an administrative hearing, or a trial.

The Penalty Policy is appropriate to use in this matter because the violations Ms. Robertson
alleges are those to which the Supplemental Guidance for Violations of the Construction Storm
Water Requirements expressly applies. For the past nine years, EPA has applied the Penalty
Policy nationally to address violations of stormwater requirements like those Ms. Robertson
alleges.

Penalties calculated using the Penalty Policy are comprised of two components: a gravity
component and an economic benefit component. The gravity component is based on
consideration of the potential or actual harm to human health and/or the environment that a
violation may present, as well as the significance of the violations. The economic benefit
component is meant to remove any financial benefit a violator may have obtained by not
complying with the law. While the gravity component is punitive, the economic benefit
component is not. Instead, it merely aims to return the violator to the same financial position as
it would have been had it complied with the requirements timely. Together, these two
components are considered the Preliminary Penalty Amount. This amount can be adjusted for
litigation considerations, the violator’s ability to pay the penalty, and the use of Supplemental
Environmental Projects (“SEP”). The final cash penalty amount is the amount that results after
any such adjustments are made. Below I describe how the gravity and the economic benefit
components are made.




10EPA, Interim Clean Water Act Settlement Penalty Policy (March 1, 1995); EPA, Supplemental
Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1, 1995) for Violations of the
Construction Storm Water Requirements (February 5, 2008).

11   EPA, Interim Clean Water Act Settlement Penalty Policy, 3 (March 1, 1995).

12   Ibid.
13EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,
1995) for Violations of the Construction Storm Water Requirements, 1 (February 5, 2008).



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         7.2     Gravity component of penalty

                 7.2.1    General structure

The gravity component is determined on a monthly basis. All violations that occur within a
month are considered collectively. For each month in which a violation existed, two factors are
considered: Health and Environmental Harm (“Factor B”) and Significance of Non-effluent Limit
Violations (“Factor D”). Each of these factors is assigned a numerical value based on the
severity of the violations, the sum of which is multiplied by $1,000 to determine the penalty
amount for a given month.

                 7.2.2    Factor B: Health and environmental harm

The Penalty Policy requires the user to consider various parameters in setting a Factor B value
for a given month. Two types of harm are evaluated separately: impact on human health and
impact on the environment. The Penalty Policy includes a matrix that provides a range of
values for each combination of impact on human health versus impact on the environment,
actual harm versus potential harm, and classification of the quality of the affected water body.
Judgment is used to select the appropriate value within each range.

The first step in selecting a Factor B score is to determine the quality of the receiving water,
which can be classified as “low,” “medium,” or “high.” The criteria for each of these categories,
which are largely based on the uses of the water body, are listed in the Penalty Policy. 14 MDEQ
has designated Back Bay as having a primary recreation use. Therefore, the Penalty Policy
classifies it as a “high” quality water.

Second, the Penalty Policy specifies that the user should consider the following to determine a
score for the two categories or harm (human and environmental). The score for impact on
human health should consider:

     1. Interference with drinking water supplies;

     2. Harm or increased risk to subsistence or commercial fishing;

     3. Harm or increased risk to shellfish harvesting;

     4. Causing or contributing to stream instability, including increased risk of flooding;

     5. Interference with primary or secondary contact recreation; and

     6. Site-specific or local rainfall data, where available. 15

The score for impact on the aquatic environment should consider:



14 EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,

1995) for Violations of the Construction Storm Water Requirements, 7-8 (February 5, 2008).
15EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,
1995) for Violations of the Construction Storm Water Requirements, 8-9 (February 5, 2008).



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     1. The quantity (i.e., concentration or mass) of sediment, oil, or other pollutant that was
        discharged, or that could potentially be discharged;

     2. Any documented or reasonably presumed impacts or degradation, such as impacts
        resulting from siltation or the presence of oil sheens, including impacts to life stages of
        aquatic life and other wildlife dependent on aquatic ecosystems, or on habitat including
        aquatic vegetation;

     3. Whether the stream provides habitat to species sensitive to sediment or turbidity (e.g.,
        trout);

     4. Whether the stream is on the CWA §303(d) list as impaired by sediments, turbidity or other
        pollutants which were or could potentially be discharged from the site;

     5. Whether fish or other aquatic life were killed, including the number and species of fish or
        other aquatic life killed;

     6. Whether discharges contributed to or caused streambed instability, such as bank erosion
        or scouring, which could impact habitat;

     7. Exceedances of applicable water quality standards; and

     8. Site-specific or local rainfall data, where available. 16

If the violations in a given month may have had a potential or actual impact on human health
and a potential or actual impact on the environment, the higher of the two scores is used for that
month’s Factor B score.

                 7.2.3    Factor D: Significance of Non-effluent Limit Violations

The purpose of Factor D is to evaluate the significance of the violations in each month,
recognizing that some types of violations are more meaningful than others. The Penalty Policy
lists seven different types of construction stormwater violations. These include: absence of a
SWPPP; an inadequate SWPPP; missing BMPs; BMPs not properly designed, implemented or
maintained; any other deficiencies in the implementation of the SWPPP; failure to file a Notice
Of Termination; and failure to obtain a permit/file a Notice of Intent/Discharge without a permit.
For each type, the policy describes features to consider in setting a monthly score for each type
of violation that occurred that month. For the three types of violations alleged by Ms.
Robertson, the considerations used to determine an appropriate Factor D score are as follows.

Category 1.c.i: Missing BMPs

         •   The number and types of missing BMPs in relation to the characteristics of the site;

         •   The significance of the missing BMPs, considering site-specific factors such as the
             topography, erosivity, and the amount of buffer vegetation;




16EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,
1995) for Violations of the Construction Storm Water Requirements, 9-10 (February 5, 2008).


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        •    In judging the degree to which the lack of BMPs have impacted the control of
             stormwater discharges from the site, the following should be evaluated:

                 o    Sediment and erosion control practices;

                 o    Offsite vehicle tracking of sediments;

                 o    Good housekeeping (e.g., debris receptacles, trash pickup, street sweeping);

                 o    Waste disposal;

                 o    Materials management;

                 o    Other (e.g., concrete/asphalt batch area, location and maintenance of port-a-
                      potties, etc.). 17

     Category 1.c.ii: BMPs Not Properly Designed, Implemented or Maintained

        •    The number and types of inadequacies, as well as the site-specific factors identified
             in 1.c.i;

        •    Whether major activities were conducted in sequence;

        •    Whether BMPs were properly designed;

        •    Whether BMPs were installed per design specifications;

        •    Whether BMPs were properly located;

        •    Whether BMPs were properly maintained;

        •    The significance of improperly designed, installed or maintained BMPs to control of
             storm water discharges. 18

     Category 1.c.iii: Any Other Deficiencies in the implementation of the SWPPP

        •    The importance of deficiencies to the control of the discharge of pollutants from the
             site. 19

The Penalty Policy also requires consideration of the area of disturbed soil related to the
violation, with categories of 1-25, 26-50, 51-75, 76-150, and >150 acres. The policy provides
ranges of Factor D scores for each type of violation and each area category. Judgment is used


17EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,
1995) for Violations of the Construction Storm Water Requirements, 13-14 (February 5, 2008).

18 EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,

1995) for Violations of the Construction Storm Water Requirements, 14 (February 5, 2008).
19EPA, Supplemental Guidance to the Interim Clean Water Act Settlement Penalty Policy (March 1,
1995) for Violations of the Construction Storm Water Requirements, 14-15 (February 5, 2008).


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to select a score from within the range for each type. The numerical values for each type of
violation are then added, and the resulting sum is the Factor D value for a given month.

In the circumstances considered here, the roads and areas immediately adjacent to them are
the primary disturbed areas within any portion of the site. For all of the violations Ms. Robertson
alleges, the disturbed area that drains to the location is less than 25 acres.

           7.3      Analysis and determination of the monthly gravity component

Below I describe my analysis of the violations Ms. Robertson alleges in her expert report to
determine an appropriate amount of the gravity component of the penalty for each month in
which those alleged violations occur.

                    7.3.1   June 2016

Ms. Robertson alleges that conditions at two locations did not comply with stormwater
requirements in June 2016. Both locations are referred to as Auguste Bayou, one on the east
end of Suarez near the Back Bay Boulevard bridge and the other on the northeast side of the
Braun Street bridge (pgs. 11-12). At the east end of Suarez, Ms. Robertson alleges that there
were no stormwater controls and slope protection along the disturbed banks of the headwall. At
the northeast side of the Braun Street bridge, she alleges that ORC did not install BMPs to
prevent a small amount of disturbed soil from entering the channel.

           Factor B

In setting the Factor B value for this month, I considered that at both locations the disturbed soil
was located at or near the water’s edge, which increased the likelihood that soil could have
migrated into the water. However, there were only two days in the month when the daily rainfall
(which could exacerbate that movement) exceeded one inch, one day with approximately half
an inch, and little or no rainfall on the other days of the month. 20 There is no indication that the
conditions presented fit the types of impacts the Penalty Policy describes as indicating potential
impact to human health.

While Ms. Robertson does not present any evidence of an actual impact on the environment, it
is reasonable to consider that those conditions presented a potential impact. The more
significant potential impact existed at the east end of Suarez. This location is very close to
where the bayou enters Back Bay and the soil at issue is at the bank of the channel. At the
same time, the channel appears to be a naturally turbid water into which suspended and non-
suspended solids flow from upstream sources, at least at times. Compared to other
construction sites with violations for lack of BMPs, the amount of soil at the water’s edge at the
two locations was relatively small. Based on these considerations and others the Penalty Policy
describes, I have assessed an environmental impact score of 1 to 3, which yields a total Factor
B score of 1 to 3.

           Factor D

The violations that Ms. Robertson’s alleges occurred at these two locations during June 2016
fall within the Factor D category of Missing BMPs. Given that there were only two locations with
an alleged violation in the month, the nature and size of the areas allegedly without stormwater

20   I present all rainfall data in Attachment 5.


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controls, and the related considerations discussed in the Penalty Policy, I have assessed a
Factor D score of 0.5 to 1.

                 7.3.2    February 2017

Ms. Robertson alleges that there were seven conditions that did not comply with stormwater
requirements in February 2017. Those alleged violations occurred at five locations:

    •   Keegan Bayou

    •   Auguste Bayou, East End of Suarez near Back Bay Blvd Bridge

    •   West side of Nichols, north of Division, behind Family Dollar

    •   Division and Penny

    •   East side of Porter

At all five locations, she alleges that ORC had not installed stormwater controls. At the Auguste
Bayou location, Ms. Robertson also alleges that ORC did not maintain BMPs properly,
specifically a turbidity curtain. At the Keegan Bayou location, she alleges that turbid water was
flowing from the construction site into the channel, that the water was not the same color as the
water in the channel, and that these conditions represented a violation.

        Factor B

In setting the Factor B value for this month, I first considered the potential for an impact on
human health. I did not see conditions at any of the locations that could have had such an
impact. However, some of the locations appear to have had at least a potential impact on the
environment, particularly at the Keegan Bayou and Division and Penny locations. The video of
conditions at the former show brown-colored water flowing through the construction area past
the broken sheet piling and into the stream. The water is darker brown than water in the
stream. Although it is not clear if the difference is significant enough to constitute a violation, I
have assumed it is. The photograph of Division and Penny also shows water flowing off the
construction area into the stream, although it does not appear to be any different in color than
the receiving water, suggesting little marginal impact.

Ms. Robertson provides no information to indicate that sediment flowing into these water bodies
caused any of the types of actual impacts described in the Penalty Policy, such as causing a
fish kill, impacting the habitat of a species sensitive to sediment or turbidity, or contributing to
stream instability. In addition, the date on which the referenced video and photograph, as well
as the video of the Auguste Bayou location, were taken (February 7, 2017) is the only day that
month with any appreciable rainfall (2.24 inches). Two other days had roughly half an inch of
rain. There was very little or no rain on any other day that month. Therefore, there was a very
limited time when these conditions posed any meaningful potential for harm.

Conditions at the Auguste Bayou location this month presented a degree of potential impact to
the environment similar to that described in the June 2016 discussion above. The lack of BMPs
at the drain inlets located at the west side of Nichols and at the east side of Porter appear to
present less of a potential impact to the environment than the other locations discussed above.




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Finally, the area surrounding the allegedly violative conditions at the five locations appears to
involve a small amount of disturbed land.

Based on these considerations and the language and concepts of the Penalty Policy, I have
assigned a Factor B score of 4 to 6.

        Factor D

The violations that Ms. Robertson alleges occurred at the five locations in February 2017 fall
within three Factor D categories: Missing BMPs (all five locations); BMPs Not Properly
Designed Implemented, or Maintained (Auguste Bayou); and Any Other Deficiencies (alleged
turbidity-related violation at Keegan Bayou). For the Missing BMPs category, I have considered
the number of locations for which Ms. Robertson alleges such a violation, the extent of the
missing BMPs, and their significance, particularly at the Keegan Bayou, Division and Penny,
and Auguste Bayou locations. At the same time, I have considered that the size of these areas
and the number of missing BMPs is small relative to other construction locations. I have
assigned Factor D values for this category of 2 to 3.

For the lack of BMP maintenance category, Ms. Robertson only alleges lack of maintenance of
the turbidity curtain at the Auguste Bayou location. Given the limited nature and size of the
allegedly violative condition, I have assigned it a Factor D score of 0.25 to 0.5. Ms. Robertson
alleges one violation that falls within the third Factor D category, Any Other Deficiencies, which
is the discharge of turbid stormwater into the creek that has a different color than the receiving
water. After considering the information presented in the video showing the intensity, volume,
and color of the discharge, the number and severity of the rainfall events in the month, the
sediment-laden nature of the creek upstream, at least at times, the number of these alleged
violations (one), and small size of the area, I have assigned a score for this Factor D category of
0.5 to 1. The sum of scores of the individual Factor D violation types is 2.75 to 4.5

        Addition of factually inaccurate alleged violation

In addition to the allegations described above, Ms. Robertson also alleges that there were no
stormwater controls at the street drain located at intersection of Lee St and Austin St. However,
that drain leads to piping that did not flow anywhere at the time. Therefore, Ms. Robertson’s
allegation cannot constitute a violation. Nonetheless, for the Scenario 2 calculation I provide, I
include this alleged violation. However, consideration of that additional alleged violation does
not cause me to modify my Factor B or D scores for the month based on the other alleged
violations.

                 7.3.3    March 2017

Ms. Robertson alleges that conditions at two locations did not comply with stormwater
requirements in March 2017. She identifies the first area as Keegan Bayou and the second
area as “including parts of Auguste Bayou, Bradford, and Braun” (“Bradford and Braun”). At
both locations she alleges there were no stormwater controls.

        Factor B

In setting the Factor B value for this month, I see no conditions at the Keegan Bayou and
Bradford and Braun locations that could have had an impact on human health, nor does Ms.
Robertson allege any such potential impacts. However, the broken sheet piling at Keegan



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Bayou and the disturbed soil along the channel bank that allegedly did not have stormwater
controls arguably poses a potential impact on the environment for the reasons described above
for the same Keegan Bayou location and the other alleged violations with disturbed soil at the
water’s edge. However, these areas are small and in March there were few days with
meaningful rainfall. On one day there was an inch of rain, another day had 0.82 inches, and a
third of nearly half an inch. There was little or no rainfall on other days. Based on these
considerations and others discussed in the Penalty Policy, I have assigned a Factor B score of
2 to 3.

        Factor D

The violations that Ms. Robertson alleges occurred at the Keegan Bayou and Bradford and
Braun locations fall within the Factor D category of Missing BMPs. Given that there were only
two locations with an alleged violation in this month, the nature and size of the area allegedly
without stormwater controls, the significance of the allegedly missing controls, and the related
considerations discussed in the Penalty Policy, I have assessed a Factor D score of 0.75 to 2.

        Addition of factually inaccurate alleged violations

Ms. Robertson also alleges that two violations occurred at the west side of Porter near Balboa.
Although those allegations are not violations because the piping to which the inlet is attached
does not drain anywhere, for my Scenario 2 calculation I provide, I have included these alleged
violations. But because the piping does not drain anywhere, their addition does not affect my
Factor B score. However, I have modified my Factor D score to account for these additional
alleged violations in two ways. First, I have slightly increased the low value for the Missing
BMPs category to 0.8. Second, the alleged BMP maintenance category requires the addition of
another score, which I have set at 0.25 to 0.5 based on the number of alleged violations, the
size of the affected area, and the various considerations discussed in the Penalty Policy. The
sum of scores of the individual Factor D violation types for Scenario 2 is 1.05 to 2.5.

                 7.3.4    April 2017

Ms. Robertson alleges that conditions at two locations did not comply with stormwater
requirements in April 2017. She identifies the first area as “including part of Auguste Bayou,
Bradford, and Braun” (“Lee Street bridge”) 21 and the second area as Lee and Redding. At both
locations, she alleges there were no stormwater controls of various types.

        Factor B

At the Lee Street bridge location, conditions on the channel banks and at the staging area are
not unlike those Ms. Robertson describes for the Auguste Bayou, east end of Suarez location
for June 2016 and February 2017. Therefore, the same considerations I used in setting the
Factor B value for that location apply here. However, at Lee Street bridge Ms. Robertson
alleges that ORC did not install more types of BMPs than she alleges were absent at the east

21 Based on the video she references, Ms. Robertson has identified this location incorrectly. The location
in the video is the Lee Street bridge near Suarez, not Bradford and Braun. Evidence of that includes the
street sign visible in the video, the location of the construction area, and the buildings in the background,
among other others. This bridge is located at little over 400 feet due west of the area she describes as
Auguste Bayou, East End of Suarez on page 13 of her report. For purposes of this discussion, I will refer
to this location as the “Lee Street bridge” area.



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end of Suarez. Like conditions in June 2016, there is a second location for which Ms.
Robertson alleges there were no controls in April 2017. There was one more day with rainfall
greater than one inch in April 2017 than June 2016, although there were fewer days that rained
in April. Based on these considerations and those discussed in the Penalty Policy, I have
assigned a Factor B value of 2 to 4.

        Factor D

The violations that Ms. Robertson alleges occurred at these two locations fall within the Factor
D category of Missing BMPs, the same as the allegations in June 2016. As discussed for
Factor B, the circumstances related to these locations bear similarities to those in June 2016,
albeit with more types of BMPs allegedly not implemented. Therefore, I have set a score for
Factor D in this month of 0.75 to 2, which is greater than the Factor D score for June 2016.

                 7.3.5    May 2017

Ms. Robertson alleges that there were eight conditions that did not comply with stormwater
requirements in May 2017. Those alleged violations occurred at seven locations:

    •   Keegan Bayou

    •   West side of Nichols, north of Division, behind Family Dollar

    •   Division and Penny

    •   Adjacent to Back Bay, north of Lee Street termination

    •   Roy, west of Heidenheim, north side

    •   East side of Benachi

    •   Parts of Auguste Bayou, Bradford and Braun

At five of the locations, Ms. Robertson alleges that ORC did not install stormwater controls (that
allegation was not expressly made for Keegan Bayou, west side of Nichols, or Bradford and
Braun for this month). She also alleges that at the west side of Nichols, ORC did not properly
maintain the BMPs. For two locations, she makes turbidity-related allegations. For Keegan
Bayou, she states that turbid water was flowing into the channel. For Bradford and Braun, she
alleges that upstream construction activities caused the turbid conditions she observes at this
location. However, this is an unsupported assumption. She does not provide any information to
indicate what the construction activities were, where they were located, or how any construction
activities were causing or contributing to turbid water.

        Factor B

As with other months, I did not see in these alleged violations evidence of a potential or actual
impact on human health. However, there is evidence of a potential, and possibly actual, impact
on the environment. The most notable conditions shown in the photographs and videos Ms.
Robertson references regarding conditions in May are those related to the allegedly turbid water
and drainage flowing off construction-related areas or into unprotected inlets. However, the
videos and photo showing turbid conditions at Keegan Bayou and Bradford and Braun do not


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provide evidence of these conditions being due to construction activities. Nonetheless, for this
assessment, I assume they are. Given (a) the turbid conditions of waters, drainage flowing off
of construction areas, the potential for it to flow off the Division and Penny area, and the
possibility of sediment being carried into the inlet on the west side of Nichols; (b) the
considerations I described for earlier months; (c) the rainfall that occurred in May 2017 (eight
inches total, three days with more than one inch, and three days with between one-half and one
inch); and (d) other considerations described in the Penalty Policy, I have assigned a Factor B
score of 7 to 10.

        Factor D

The violations that Ms. Robertson alleges occurred at seven locations in May 2017 fall within
three Factor D categories: Missing BMPs (five locations); BMPs Not Properly Designed,
Implemented, or Maintained (west side of Nichols); and Any Other Deficiencies (alleged
turbidity-related violations at Keegan Bayou and Bradford and Braun). For the Missing BMPs
category, I have considered the number of locations for which Ms. Robertson alleges such a
violation, the extent of the missing BMPs, and their significance. I have also considered the size
of these areas and the number of missing BMPs relative to other construction locations. Based
on those considerations and others described in the Penalty Policy, I have assigned Factor D
values for this category of 2 to 4.

For the insufficient BMP maintenance category, Ms. Robertson alleges this occurred at one inlet
in the month, located at the west side of Nichols. Given the limited nature and location of this
allegedly violative condition, as well as the nature and size of the surrounding conditions, I have
assigned it a Factor D score of 0.1 to 0.2. Ms. Robertson’s two turbidity-related allegations fall
within the third Factor D category, Any Other Deficiencies. I have considered the visual
information available in the videos and photograph, the lack of objective information about the
degree of color difference, the lack of evidence presented regarding any connection between
those conditions and construction activities, and the sediment-laden nature of the waters
upstream, at least at times. Based on those considerations and the other factors discussed in
the Penalty Policy, I have assigned a score for this Factor D category of 0.5 to 1. The sum of
the scores for the three types of violations yields a total Factor D score of 2.6 to 5.2.

                 7.3.6    June 2017

Ms. Robertson alleges that there were six conditions that did not comply with stormwater
requirements in June 2017. Those alleged violations occurred at four locations:

    •   Strangi and Sam, behind Back Bay;

    •   South Side of Division Street;

    •   Southeast corner of Division at intersection with Graham;

    •   East side of Porter.

At all four locations, she alleges that ORC had not installed stormwater controls. Ms. Robertson
alleges that ORC did not properly maintain the BMPs at two locations (Division and Graham and
the east side of Porter).




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        Factor B

As with other months, I did not see in these alleged violations evidence of a potential or actual
impact on human health. However, there is evidence of a potential, and possibly actual, impact
on the environment. At the Strangi and Sam location, conditions Ms. Robertson describes at
the channel banks and dirt mounds in the channel are not unlike those she describes for the
Auguste Bayou, east end of Suarez location for June 2016 and February 2017 and the Auguste
Bayou, Bradford and Braun location in April 2017. She also asserts a lack of soil pile
stabilization at the Lee and Redding location in April 2017. In addition, the lack of a filter sock
that Ms. Robertson contends should have been placed on the discharge pipe at the south side
of Division Street location and the potential impact of the small amount of water that was flowing
into the inlet bear similarities to her critique of conditions at the Lee and Redding location in
April 2017. Therefore, the same considerations I used in assessing the potential impact on the
environment at those locations apply here.

The alleged conditions at the inlets at Division and Graham appear to have presented a less
significant potential impact on the environment, particularly given that Ms. Robertson does not
assert that any stormwater that flowed into those inlets was ultimately discharged at a location
that could have had an impact on the environment. In fact, even in the case of water seen
flowing into the inlet at the south side of Division Street, she does not assert that such a
discharge occurred. At the same time, there was a much greater rainfall in June 2017
compared to June 2016 and April 2017. Nearly 23 inches of rain fell in June 2017, and on two
days there was more than five inches of rain. On four other days, the total rainfall was between
one and three inches. Based on these considerations and those discussed in the Penalty
Policy, I have assigned a Factor B value of 2 to 4.

        Factor D

The violations that Ms. Robertson alleges occurred at the four locations fall within two Factor D
categories: Missing BMPs at all four locations and BMPs Not Properly Designed, Implemented,
or Maintained at two locations. For the Missing BMPs category, I have considered the number
of locations for which Ms. Robertson alleges a such a violation, the extent of the missing BMPs,
and their significance. I have also considered the size of these areas, the number of missing
BMPs relative to other construction locations, and my evaluation of conditions Ms. Robertson
asserts existed during other months. Based on that and other considerations described in the
Penalty Policy, I have assigned a Factor D score for this category of 1 to 2.

For the lack of BMP maintenance category, Ms. Robertson alleges this occurred at two inlets in
the month, located at the south side of Division and the east side of Porter. Given the limited
nature and location of these allegedly violative conditions, as well as the nature and size of the
surrounding conditions, I have assigned it a Factor D score of 0.25 to 0.5. The sum of scores of
the individual Factor D violation types is 1.25 to 2.5.

        Addition of factually inaccurate alleged violations or those without a specific allegation

In addition to the allegations described above, Ms. Robertson references the possibility of a
violation, but does not specifically assert one, if water she observes flowing into the inlet at the
south side of Division results in turbid water being discharged into a receiving water. However,
she does not assert that a violation occurred. For purposes of my Scenario 2 calculation, I have
considered this to be an alleged violation, which falls within the Factor D category of Any Other
Deficiencies. Given the lack of information about any such discharge and the degree to which it


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could have an impact, I have assigned a score for this Factor D category of 0.1 to 0.2 for my
Scenario 2 calculation.

She also alleges that BMPs were not properly designed, implemented, or maintained at the
west side of Balboa location. However, that drain leads to piping that did not flow anywhere at
the time. Therefore, Ms. Robertson’s allegation cannot constitute a violation. Nonetheless, for
my Scenario 2 calculation I include this alleged violation. However, consideration of that
additional alleged violation does not cause me to modify my scores for the BMP maintenance
category for the month given the other alleged violations. Therefore, when all of the alleged
violations are considered, my scores for the BMP maintenance category in the Scenario 2
calculation are 0.25 to 0.5. The sum of scores of the individual Factor D violation types is 1.35
to 2.7.

                  7.3.7   Total of monthly gravity amounts

The sum of the gravity amounts I have determined are appropriate pursuant to the Penalty
Policy for each of the months in which Ms. Robertson alleges one or more violations are
presented in Attachment 2, with more detailed information presented in Attachments 3-4. The
values for the lower end of the range and the higher end are subject to adjustments, as I
describe next.

                  7.3.8   Adjustment factors

The Penalty Policy describes two adjustment factors that may be applied for construction
stormwater cases: history of recalcitrance and quick settlement. The recalcitrance factor is
used to increase the penalty based on “a violator’s bad faith, or unjustified delay in preventing,
mitigating, or remedying the violation.” 22 The recalcitrance factor is also applicable if the violator
failed to comply with an EPA administrative compliance order or information request, or with a
prior state or local enforcement order. The penalty may be adjusted downwards by up to 10%
using the quick settlement factor, which provides additional incentive for violators to negotiate
quickly and reasonably. The Penalty Policy also requires adjusting the penalty for inflation,
using the inflation rate set by EPA.

Except for the required inflation adjustment, I have not applied any adjustment factors. My
understanding is that ORC has not been the subject of other cases and has not failed to comply
with any EPA, state, or local enforcement order. Although I have not applied the quick
settlement adjustment factor, if ORC were negotiating a settlement of an administrative or civil
judicial case brought by EPA, it is highly likely that the company would obtain the 10% quick
settlement adjustment. In all of the Clean Water Act cases I have been involved in, EPA has
been willing to apply this adjustment in order to expeditiously settle a case.

The inflation adjustment does apply. EPA issued its most recent adjustment in the
Amendments to EPA’s 2016 Civil Penalty Policies to Account for Inflation, which applies to all
violations that occurred after November 2, 2015. The memorandum specifies that penalties for
violations in this date range derived using the Penalty Policy should be adjusted upward by
9.819%. 23


22   EPA, Interim Clean Water Act Settlement Penalty Policy, 12 (March 1, 1995).

23Memorandum from Cynthia Giles (EPA) to Regional Administrators Re: Amendments to the U.S.
Environmental Protection Agency’s Civil Penalty Policies to Account for Inflation (Effective August 1,


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                 7.3.9    Gravity component amount

Based on application of the Penalty Policy to the facts related to the violations Ms. Robertson
alleges, I have determined an appropriate range for the gravity component of the penalty for
each month in with Ms. Robertson alleges one or more violations occurred. These ranges are
presented in Attachments 3-4.

          7.4    Economic benefit component

In the early 1980s, EPA developed a methodology for recapturing any economic benefit a
violator may have obtained as a result of a violation. The agency requires EPA personnel to
determine an economic benefit component of the penalty in every case, unless the benefit was
de minimis. EPA has primarily defined economic benefit as the difference between the costs a
violator would have incurred to comply with requirements compared to the costs it actually
incurred, if any. That difference is determined on a net present value basis to account for the
time value of money.

EPA’s traditional method of determining economic benefit is to consider the company’s delayed
and avoided costs. A delayed cost is one that a violator should have incurred by a certain date,
but did not incur until a later date. An avoided cost is one a violator never incurs. That could
happen if the violator never purchases and installs the pollution control equipment. It can also
occur if the installation is delayed, in which case the violator avoids paying any operation and
maintenance costs during the time period between the date the equipment had to be installed
and the day it was installed. EPA has developed a computer model, known as the “BEN
Model,” to determine the economic benefit based on the delayed and avoided cost theory.

As an example, assume a certain violator was required to install an air pollution control device
by January 1, 2010. However, it failed to do so until January 1, 2015. The violator therefore
delayed the capital cost of the device for five years and also avoided five years’ worth of
operation and maintenance costs. EPA’s process in determining the economic benefit this
violator obtained would be to verify the date the device should have been installed, the amount
of delayed capital cost, the amount that should have been paid for operation and maintenance
costs, the date the device was actually installed, and the actual costs incurred by the violator.

The violations that Ms. Robertson alleges do not result in ORC obtaining this or any other type
of economic benefit. The contract between ORC and the City of Biloxi was bid on a unit price
basis. This means that the City pays ORC for all stormwater controls it installs, based on the
unit prices of those controls, which are specified in the contract. 24 For example, ORC billed the
City of Biloxi for 680 linear feet of wattles in GRN5 at $5.00 per linear foot. 25 Had ORC installed
any additional amount of wattles in the area, it would have charged the city the same rate of
$5.00 per linear foot for the additional amount. Had it install fewer feet of wattles, the company
would have been paid less.


2016), July 27, 2016. EPA also issued a 2017 Annual Civil Monetary Penalty Inflation Adjustment Rule,
but specified that it only modifies the applicable statutory maximum penalty amounts.

24 City of Biloxi, Standard Form of Agreement Between Owner and Contractor on the Basis of a Unit Price

between the City of Biloxi and Oscar Renda Contracting, Inc., May 6, 2014.
25   ORC, SWPPP 10-25-2017 pay estimate spreadsheet.



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Ms. Robertson alleges that ORC did not do enough work to adequately control stormwater from
the construction site. However, had ORC installed additional controls or performed other work
that Ms. Robertson alleges was needed, the company would have been paid for that work. If
ORC avoided or delayed performing any work, it would not have been paid for that work or not
paid until the work was completed. Under the reasonable assumption that ORC profited from
each increment of work it performed, any delay or failure to perform work means the company
delayed or avoided making such profit, which results in a lost financial opportunity, not an
economic benefit. Simply put, ORC had a financial incentive to perform as much stormwater
control work as it could justify; it did not have an incentive to violate the law. Therefore, the
economic benefit component of the penalty is $0.

        7.5      Preliminary Penalty Amount, final adjustment factors, and final penalty amount

As mentioned above, the Preliminary Penalty Amount is the sum of the gravity and economic
benefit components. After calculating the Preliminary Penalty Amount, the Penalty Policy allows
for the following final adjustments: litigation considerations, ability to pay, and SEPs. I have not
made any of these adjustments.

Given that the economic benefit component is $0, the final penalty amount that I believe is
appropriate based on application of the Penalty Policy to the facts is equal to the adjusted
gravity component, as shown in Attachment 2.

8.0     Comparison of my calculated penalty ranges to penalties obtained in other cases

        8.1      Approach

To assess whether the ranges of penalty amounts that I have determined are appropriate for the
violations Ms. Robertson alleges are consistent with penalties assessed in other cases, I
compared those ranges to penalty amounts for alleged violations of construction stormwater
requirements that EPA has obtained, state courts have determined, and a citizen’s group
secured through a consent judgment. I have evaluated the penalties EPA has obtained in three
types of cases with such violations. The first type is administrative enforcement actions for
which EPA and the violator entered into an administrative order on consent (“consent order”)
that provided for payment of a penalty. The second type is civil judicial cases for which EPA,
the U.S. Department of Justice (“DOJ”), and the violator entered into a consent decree that
provided for payment of a penalty. The third type is cases that for which courts determined the
appropriateness of state agency penalty assessments for violations of construction stormwater
requirements and for a consent judgment resolved a case brought by a citizen’s group for such
violations.

I identified and obtained EPA consent orders that settled construction stormwater cases that
EPA Region 4 executed in the past 5 years using EPA’s database of Administrative
Enforcement Dockets. 26 Region 4 includes Mississippi. The thirty-three construction
stormwater consent orders I identified and obtained are listed in Attachment 6.

In order to obtain a large sample of construction stormwater cases prosecuted through civil
judicial enforcement actions, I expanded the scope of my search to include all consent decrees

26 “Administrative Enforcement Dockets,” EPA, last accessed November 24, 2017;
https://yosemite.epa.gov/oa/rhc/epaadmin.nsf.



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that EPA executed to settle construction stormwater cases throughout the country in the past
ten years. This approach enabled me to identify and obtain a sample size comparable to the
number of consent orders I identified and obtained. The 29 consent decrees I identified and
obtained are listed in Attachment 7.

         8.2     Analysis of EPA consent orders

The 33 consent orders I identified and obtained assessed penalties from $200 to $110,000, with
a median of $20,000 and a mean of $24,000. Of these, only one consent order assessed a
penalty that is meaningfully greater than the penalty ranges I determined are appropriate for the
violations Ms. Robertson alleges. While the total penalty in that case was $110,000, it
addressed two separate properties, unlike the other consent orders which only settled violations
associated with only one construction site. 27 Therefore, on a per site basis, the range of the
settlement agreements is $200 to $55,000, with a median of $20,000 and a mean of $23,000.
This means that the penalties EPA Region 4 obtained per site in all administrative cases in that
last five years for violations of construction stormwater requirements were close to or below the
penalty ranges I calculated for this case. In addition, the low end of my calculated range is
above both the median and mean for penalties per site.

Although the severity and number of violations varied among sites, most of the cases involved
multiple types of the following violation categories:

     •   Unauthorized discharges;

     •   Deficient SWPPP;

     •   Ineffective BMPs;

     •   Failure to implement BMPs;

     •   Failure to maintain BMPs;

     •   Failure to properly conduct inspections and/or sampling;

     •   Recordkeeping violations;

     •   Discharges in exceedance of effluent limitations.

Some of the cases involved a greater number of violation types than the present case and/or
involved more serious violations such as discharges not authorized by a permit. For example,
Edgewood Townhomes paid a penalty of $40,000 to settle multiple violations, including
unauthorized discharges in several months, BMPs that were missing or inadequate, and
discharge of stormwater that caused an exceedance of water quality standards. In addition,
many of the identified consent orders for sites with violations similar to or worse than those
alleged by Ms. Robertson fell below my calculated penalty range. Trawick Contractors paid
$11,000 to settle multiple violations that included sediment topping a retaining wall, breached
silt fencing, inadequate rip-rap protection, failure to stabilize slopes, inadequate construction

27EPA Region 4, Consent Agreement and Final Order in the Matter of Cannon Place, LLC (September
30, 2014), Docket No. CWA-04-2014-4511(b).



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entrance/exit protection, inadequate storm drain inlet protection, and missing silt fence. 28 In
addition, construction waste was not properly disposed of, in violation of pollution prevention
measures. Allstate Paving, which paid a penalty of only $12,000, was found to have poor silt
control at the perimeter of the construction site for many months without taking corrective
actions or revising its SWPPP, in addition to other violations. 29

For the reasons described above, it is my opinion that the ranges of penalty amounts that I have
determined are appropriate for the violations Ms. Robertson alleges are consistent with or
higher than penalties EPA Region 4 has obtained in settlement of administrative enforcement
cases in the past five years for violations of construction stormwater requirements that were
similar to or worse than those Ms. Robertson alleges.

          8.3     Analysis of EPA consent decrees

EPA generally relies on civil judicial enforcement tools to prosecute the most serious violations
of any environmental statute. As a result, the penalties assessed through consent decrees are
generally greater than penalties assessed through consent orders. I found that to be true in my
review of consent decrees EPA executed in the past ten years for violations of construction
stormwater requirements. I identified and obtained 29 consent decrees, which assessed
penalties from $25,000 to $1,485,000, with a median of $435,000 and a mean of $511,000.
Many of these cases involve large companies with alleged violations at many sites across
multiple states. For example, the largest penalty of $1,485,000 involved 680 construction sites
in twenty-six states. 30 That penalty was paid by Centex Homes, one of the largest home
builders in the U.S. The types and severity of the alleged violations varied among sites and
included discharges of stormwater without permit coverage, inadequate SWPPPs, missing or
inadequate BMPs, failure to maintain BMPs, and failure to adequately inspect BMPs. Given the
difference between penalties assessed to resolve violations at dozens or hundreds of
construction sites, versus the single site at issue in this case, I have also analyzed the penalties
assessed in other cases on a per site basis. Once adjusted for the number of sites involved in
each case, the range of penalties per site is $1,400 to $435,000, with a median of $23,000 and
a mean of $75,000.

There are only eight consent decrees that assessed a penalty greater than $50,000 per site.
This means that the penalties per site in 72% of the most significant stormwater cases EPA has
prosecuted in the past 10 years had penalties that fell within or were below the penalty ranges I
have determined are appropriate for the violations Ms. Robertson alleges. In addition, the low
end of the penalty ranges I calculated are above the median penalty per site in EPA’s civil
judicial cases. Characteristics of these cases are summarized below. I also discuss individual
cases with penalties per site within my calculated penalty ranges.

General characteristics of the consent decrees within or below my calculated penalty ranges
include violations with long durations, large disturbed areas, multiple and/or significant
violations, or some combination of these factors. In many cases, there were many different

28EPA Region 4, Consent Agreement and Final Order in the Matter of Trawick Contractors, Inc.
(November 19, 2013), Docket No. CWA-04-2013-4510(b).

29 EPA Region 4, Consent Agreement and Final Order in the Matter of Allstate Paving, Inc., (September

20, 2016), Docket No. CWA-04-2016-4521(b).
30   Consent Decree, U.S. et al. v. Centex Homes (No. 1:08cv605, E.D. Va., July 30, 2008).



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types of violations, including failure to obtain permit coverage and lack of stormwater controls
that led to serious harm to high quality water bodies. Some of the violations affected the
Chesapeake Bay, for which EPA has placed a high priority for protective efforts.

Of the six consent decrees that had penalties between $25,000 and $50,000 per site, three
cases involved failure to apply for permit coverage, among other violations. Failure to apply for
coverage is one of the most serious of the types of violations considered by the Penalty Policy,
which provides for such violations to have the highest Factor D (significance) score. One of
these three cases, U.S. v. Zelmer, also included the discharge of dredged or fill material without
a permit, which is a separate and significant violation. State inspectors also noted that there
were no BMPs in place to minimize stormwater discharges at the site, yet the penalty for all of
these violations amounted to only $25,000. 31 In U.S. v. Allan Myers, EPA and state inspections
noted over 600 stormwater violations over a period of two years, with four of the fourteen sites
involving failure to obtain permit coverage. 32 Some of the fourteen sites drained to the
Chesapeake Bay. State and federal inspections also documented a pattern of not obtaining
permit coverage in U.S. v. Home Depot, in addition to failure to maintain adequate SWPPPs
and failure to properly install and maintain silt fences and storm drain protection. Allan Myers
and Home Depot paid average penalties of $33,000 and $38,000 per site, respectively.

The remaining three consent decrees that had penalties within my calculated penalty ranges
also constituted circumstances worse than or comparable to the present case. In U.S. v.
Charleswood, the site covered 480 acres, the facility failed to perform certain inspections and it
failed to establish a centralized concrete wash area. The latter deficiency led to a significant
amount of sediment migrating off site near storm drains. In U.S. v. Ivory Homes and U.S. v.
Colaska, both cases involved multiple failures to install and maintain stormwater controls,
including the failure to provide a required sedimentation pond in U.S. v. Colaska. Both also
involved the failure to adequately complete inspections.

There are also multiple examples of consent decrees with penalties less than my calculated
penalty range with circumstances worse than or comparable to this case. For example, in U.S.
v. Colorado Structures, the defendant paid an average of $19,000 per site for multiple violations
that included failure to obtain permit coverage, inadequate SWPPPs, discharge of sediment-
laden stormwater into vernal pools within a nature preserve, and failure to implement and
maintain BMPs. For eight different cases involving large construction companies with many
sites in multiple states, the penalties ranged from only $1,000 to $3,000 per site. 33 Many of

31 Complaint, U.S. v. Zelmer (No. 09-4072, D.S.D., May 21, 2009); Consent Decree, U.S. v. Zelmer (No.

09-4072, D.S.D., July 21, 2009).

32Complaint, U.S. et al., v. Allan Myers, Inc. et al. (No. 15-1992, E.D. Pa., April 16, 2015); Consent
Decree, U.S. et al., v. Allan Myers, Inc. et al. (No. 15-1992, E.D. Pa., June 3, 2015).

33
   Consent Decree, U.S. et al. v. Beazer Homes USA, Inc. (No. 3:10-cv-01133, M.D. Tenn., December 2,
2010); Consent Decree, U.S. et al. v. Centex Homes (No. 1:08cv605, E.D. Va., July 30, 2008); Consent
Decree, U.S. et al. v. KB Home (No. 1:08-cv-00603-JCC-TCB, E.D. Va., July 18, 2008); Consent Decree,
U.S. et al. v. Hovnanian Enterprises, Inc. (No. 2:10-cv-01742-TJS, E.D. Pa., April 20, 2010); Consent
Decree, U.S. et al. v. M.D.C. Holdings, Inc. et al. (No. 1:08-cv-00604-JCC-JFA, E.D. Va., June 17, 2008);
Consent Decree, U.S. v. Toll Brothers, Inc., et al. (No. 12-3489, E.D. Pa., June 20, 2012); Consent
Decree, U.S. v. the Ryland Group, Inc. (No. 3:11-cv-00499, W.D.N.C., October 7, 2011); Consent Decree,
U.S. et al. v. Pulte Homes, Inc. (No. 1:08-cv-00602-JCC-TRJ, E.D. Va., June 17, 2008). Case information
also obtained from EPA’s database of Civil Cases and Settlements,
https://cfpub.epa.gov/enforcement/cases/. Last accessed December 4, 2017.


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these cases involved sites draining to the Chesapeake Bay, failure to obtain permit coverage,
inadequate SWPPPs, and/or failure to implement and maintain BMPs.

For the reasons described above, it is my opinion that the ranges of penalty amounts that I have
determined are for the violations Ms. Robertson alleges are consistent with or higher than
penalties EPA obtained in settlement of civil judicial actions nationwide in the past ten years for
violations of construction stormwater requirements that were similar to or worse than those Ms.
Robertson alleges.

          8.4     Penalties determined state courts and obtained by citizen’s groups

A search was performed to identify cases that involved violations of construction stormwater
requirements for which courts assessed penalties or issued decisions regarding regulatory
agency assessments. That search did not identify any penalties assessed or evaluated by
federal district courts for such violations, but it yielded three cases in which state courts
determined the appropriateness of penalties assessed by state regulatory agencies. The
search also identified one citizen’s group case brought in federal district court case that was
resolved through a consent judgment.

The Superior Court of Vermont affirmed a penalty assessed by the Vermont Natural Resources
Board of $42,400, which falls within the ranges of financial penalties I have conservatively
determined are appropriate for the violations alleged by Ms. Robertson. That case, Natural
Resources Board v. Stratton Corporation, involved violations that were more significant than
those Ms. Robertson alleges. 34 The violations included unapproved changes to a SWPPP,
which resulted in a leaky detention pond. The company also illegally cleared about two acres of
land, which caused erosion that impacted a stream and wetlands and caused icing in roads,
driveways, and garages. Stratton also had a prior history of noncompliance, as it had previously
been penalized for discharges without a permit.

In the other two cases, state courts issued decisions regarding state agency penalty
assessments that are greater than my calculated ranges of appropriate penalties for the
violations Ms. Robertson alleges. However, those two cases involved more significant
violations. In Leeward Construction v. Department of Environmental Protection, the court
affirmed a penalty assessed by the Pennsylvania Department of Environmental Protection for
violations that involved operation of construction activities without approved erosion and
sediment control plans, which resulted in discharges of sediment laden stormwater into a high-
quality water body. 35 Leeward Construction had received forty-three inspection reports, five
NOVs, and five compliance orders, all of which documented numerous violations. The company
also failed to comply with several stop-work orders. About half of Leeward Construction’s
construction site was found to be unprotected by BMPs. Of the $258,500 penalty, $109,000
was for chronic failure to install and maintain BMPs, $49,000 was for discharge of sediment
pollution, and $100,000 was for deliberate violations of multiple stop work orders.

In I-5 Properties v. Department of Ecology, the Court of Appeals of Washington remanded the
case to the Washington Pollution Control Hearing Board with instructions to reduce the penalty


34
     Natural Res. Bd. V. Stratton Corp., 2016 Vt. Super. LEXIS 123.

35
     Leeward Constr. V. Dep't of Envtl. Protection, 821 A.2d 145.



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of $82,000 that the Department of Ecology originally imposed on I-5 Properties for significant
violations of construction stormwater requirements. 36 I-5 Properties had failed to install,
maintain, and modify BMPs, which resulted in significant discharges of pollutants during a 100-
year storm. One-quarter to one-half of the 70-acre site had been disturbed. I-5 Properties’
drainage system was inadequate, leading to flooding of up to 40% of the site, discharge of large
volumes of turbid water, and causing multiple exceedances of water quality standards. The site
was not stabilized until roughly five months after the 100-year storm. In addition, I-5 Properties
did not provide the Department of Ecology with information about its noncompliance, in violation
of its permit conditions.

In the case resolved through a consent judgment, GRN v. Hancock County Development, the
parties agreed that the defendant would pay a penalty of a $95,000 for significant violations for
discharging stormwater without a permit and violating CWA Section 404 regarding the discharge
of dredged or fill material into waters of the U.S. 37 These violations typically are considered
more significant than the violations Ms. Robertson alleges.

For the reasons described above, it is my opinion that the ranges of penalty amounts that I have
determined are appropriate for the violations Ms. Robertson alleges are consistent with penalty
determinations by state courts for violations of construction stormwater requirements, as well as
a federal court consent judgment in a citizen’s suit case involving violations of construction
stormwater requirements.

             8.5   MDEQ enforcement action in this case

In April 2017, MDEQ inspected the site and the 16 outfalls associated with ORC’s construction
project. 38 MDEQ identified minor improvements that should be made to those areas, made a
recommendation to apply more flexibility in the types of stormwater controls used, and
requested ORC to modify, expand, and integrate its SWPPPs. In May 2017, MDEQ issued a
NOV to ORC as a follow-up to its April 2017 site inspection requiring several actions. 39 MDEQ
inspected the site again in September 2017 as a follow-up to an informal compliance schedule
put in place in July. The inspection noted ORC’s efforts to achieve full compliance with the
requirements of the general permit. Although MDEQ has inspected the construction site on at
least two occasions, it has not taken any formal enforcement action for conditions at the site,
much less one that assessed a penalty.

9.0          Conclusion

Based on the analysis described in the preceding sections, I have calculated penalty ranges for
two different scenarios: in Scenario 1, I have excluded from consideration certain conditions that
Ms. Robertson contends existed on various dates, while Scenario 2 considers all violations she
alleges occurred on various dates. I have conservatively determined an appropriate penalty for
the 27 alleged violations considered in Scenario 1 would fall within the range of $29,200 to

36
     I-5 Props. V. Dep't of Ecology, 2009 Wash. App. LEXIS 2179.
37
  Consent Judgment, Gulf Restoration Network v. Hancock County Development, LLC (No. 1:08-CV-
00186-LG-RWH, S.D. Miss., August 23, 2011).

38   Letter from Austin Byrd (MDEQ) to Janie Rodriguez (ORC), May 16, 2017.

39   Ibid.



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$51,800. For Scenario 2, which includes all 32 violations Ms. Robertson alleges, I have
conservatively determined that an appropriate penalty amount would fall within the range of
$29,700 to $52,600. These penalty ranges are consistent with penalties that EPA has obtained
for violations of construction stormwater requirements in civil judicial cases nationwide and
administrative enforcement actions brought by EPA Region 4, as well as penalty determinations
made by state courts and a consent judgment that resolved a federal court citizen suit case.
Finally, based on the information provided in her expert report, I’ve concluded that Ms.
Robertson’s opinions are limited in scope and rely on unverified assumptions, rendering them
poorly supported or baseless.




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                                           Attachment 1

                                         Curriculum Vitae
                                 STEPHEN A. JOHNSON, P.E.

Present        Gnarus Advisors LLC
Position       Director (2011–present)

               Mr. Johnson provides analysis of complex environmental and financial issues in
               the context of private party litigation, government enforcement actions, recovery of
               environmental response costs, regulatory compliance efforts, site cleanup work,
               and business and property transactions.

Education      M.S., Environmental Engineering and Science, Stanford University

               B.S., Civil Engineering, Stanford University, Tau Beta Pi

Professional LECG, LLC
History      Director (2001–2010)

               Provided analysis of complex environmental and financial issues in the context of
               private party litigation, government enforcement actions, recovery of
               environmental response costs, regulatory compliance efforts, site cleanup work,
               business and property transactions, and environmental management system
               development.

               PA Consulting Group (environmental practice became part of LECG, LLC)
               Managing Consultant (2000–2001)
               PHB Hagler Bailly, Inc. (became part of PA Consulting Group)
               Vice President (2000)
               Principal (1998–1999)
               Putnam, Hayes & Bartlett, Inc. (became part of PHB Hagler Bailly, Inc.)
               Principal (1998)
               Senior Consultant (1997)

               Provided analysis of complex environmental and financial issues in the context of
               private party litigation, government enforcement actions, recovery of
               environmental response costs, regulatory compliance efforts, site cleanup work,
               business and property transactions, and development of environmental
               management systems.

               Heller, Ehrman, White & McAuliffe
               Environmental Analyst and Legislative Advocate (1993–1997)
               Provided consulting services to clients and attorneys on a wide range of site
               cleanup, regulatory compliance, legislative, and technical issues. Served as a
               legislative advocate for clients.



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               Arizona Department of Environmental Quality
               Assistant Director (1992–1993)
               Directed ADEQ’s Office of Waste Programs (now the Waste Programs Division).
               Responsible for Arizona’s programs governing site cleanup (WQARF and
               Superfund), hazardous waste management, underground storage tank regulation
               and cleanup, emergency planning and emergency response, pollution prevention,
               and solid and special waste management. This work involved managing a staff of
               more than 200 people and an annual budget of more than $20 million.

               U.S. Environmental Protection Agency – Region IX
               Chief, RCRA Enforcement Section (1988–1992)

               Responsible for the development and implementation of RCRA enforcement and
               corrective action (contaminated site investigation and cleanup) activities. This
               work involved supervising staff inspections of RCRA facilities, development of
               enforcement cases, negotiation of settlement agreements, and preparation of
               cases for hearing or trial. Developed and implemented enforcement policies,
               procedures and new programs, including the RCRA corrective action program.
               Responsible for overseeing the State of California’s hazardous waste
               enforcement program.

               U.S. Environmental Protection Agency – Region IX
               Inspector/Compliance Officer (1987–1988)

               Responsible for inspecting facilities regulated under the Clean Water Act NPDES
               and pretreatment programs and for developing enforcement cases against non-
               compliant facilities. Responsible for overseeing the State of Nevada’s
               pretreatment program.

               U.S. Environmental Protection Agency – Region IX
               Remedial Project Manager, Superfund Program (1983–1988)

               Responsible for directing EPA’s investigation, cleanup, and enforcement work at
               Superfund National Priorities List sites, among others.

Professional Professional Engineer, Civil, State of California
License

Prior         Greyhound Lines, Inc. v. Viad Corporation, United States District Court of Arizona,
Testimony in Case No. CV-15-01820-PHX-DGC. May 2017.
the Last Four
Years         PPG Industries Inc. v. United States of America, United States District Court of
              New Jersey, Civil Action No. 2:12-CV-0352. May 2017.

               Exxon Mobil Corporation v. United States of America, United States District Court,
               Case Nos. H-10-2386 and H-11-1814. April 2017.

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               State of Alaska v. Williams Alaska Petroleum, Inc; The Williams Companies, Inc.;
               Flint Hills Resources Alaska, LLC; Flint Hills Resources, LLC, Superior Court for
               the State of Alaska, Case No. 4fa-14-01544 CI. March 2017.

               Greyhound Lines, Inc. v. Viad Corporation, United States District Court of Arizona,
               Case No. CV-15-01820-PHX-DGC. July 2016.

               City of Hattiesburg v. Hercules Inc., and Ashland, Inc., United States District
               Court, Southern District of Mississippi, Civil Action No. 2:13-cv-208KS-MTP.
               February 2016.

               People of the State of California v. BP West Coast Products LLC, et al., Superior
               Court of California, Case No. RG13665900. February 2016.

               Ameripride Services Inc., v. Valley Industrial Services Inc., et al., United States
               District Court, Eastern District of California, Case No. 2:00-cv-00113-MCE-EFB.
               January 2016.

               Mark Heim v. The Estate of Donald T. Heim, Maxine Heim, and the City of
               Watsonville and Related Cross and Counter-Claims, United States District Court,
               Northern District of California, Case No. 5:10-CV-03816-EJD. July 2015.

               Exxon Mobil Corporation v. United States of America, United States Court of
               Federal Claims, Case Nos. 09-0165C and 09-0882C. April 2015.

               In re: Magnesium Corporation of America et al., Debtors. Lee E. Buchwald, as
               Chapter 7 Trustee for Magnesium Corporation of America and Related Debtor,
               Renco Metals, Inc., Plaintiff, v. The Renco Croup, Inc., et al., Defendants. United
               States Bankruptcy Court, Southern District of New York, Case No. 01-B-14312
               (REG). February 2015.

               Confidential Insurance Policy Holder v. Confidential Insurance Carrier. London,
               June 2014.

               Village of Stillwater et al., v. General Electric Company, United States District
               Court, Northern District of New York, Case No. 1:09-cv-0228. April 2014.

Publications Choy, M. S., Johnson, S. A. and Ortolano, L. (2011). Teaching Negotiation in the
             Context of Environmental Regulatory Enforcement: An Experiential Learning
             Approach. Applied Environmental Education & Communication, 10: 2, 105 – 115.

               Arulanantham, R., Mok, C. M., Cheung, R., Johnson, S. A., Ludlow, J. F., Reinis,
               S., Firestone, E. A., and Leik, T. M. (2008). A Tiered Approach to Designing
               Vapor Management Systems at a Building Complex with Spatially Different TCE
               Concentrations in Soil Gas. Proceedings of the International Conference on
               Remediation of Chlorinated and Recalcitrant Compounds, Monterey, California,
               May 2008, Battelle: Paper A-002.

               Johnson, S. A. and Lickteig, D. G. (2004). Finishers Suffer When EPA Region IX
               Takes Different View of RCRA Exemptions. Plating & Surface Finishing, Journal

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               of the American Electroplaters and Surface Finishers Society, Inc., v. 91.




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                                                Attachment 2

                                    Summary of Penalty Calculations



                                                      Number of            Lowest              Highest
                                                       Alleged           Appropriate          Appropriate
                   Scenario                           Violations          Penalty1             Penalty1



   1 Certain Alleged Violations Excluded                   27               $29,200              $51,800




   2 All Alleged Violations                                32               $29,700              $52,600




  Notes:
  1. Because the economic benefit of noncompliance component is $0, the final penalty amount is equal to the
  final gravity amount.




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                                                 Attachment 3

                                             Gravity Component
                                    Certain Alleged Violations Excluded


                       Number of                                Factor D Type
                        Alleged
      Month            Violations     Factor B         1.c.i        1.c.ii       1.c.iii     Penalty Amount



    June 2016                2           1-3          0.5 - 1         -             -          $1,500 - $4,000


 February 2017               7           4-6           2-3        0.25 - 0.5     0.5 - 1      $6,750 - $10,500


   March 2017                2           2-3         0.75 - 2         -             -          $2,750 - $5,000


    April 2017               2           2-4         0.75 - 2         -             -          $2,750 - $6,000


    May 2017                 8          7 - 10         2-4        0.1 - 0.2      0.5 - 1      $9,600 - $15,200


    June 2017                6           2-4           1-2        0.25 - 0.5        -          $3,250 - $6,500


Total of monthly gravity amounts1                                                           $26,600 - $47,200

                       1,2
Inflation adjustment                                                                           $2,600 - $4,600

Final gravity amount1                                                                       $29,200 - $51,800


Notes:
1. Rounded to the nearest $100.
2. Based on the 2016 Amendments to the EPA Civil Penalty Policies to Account for Inflation, which specifies an
inflation rate of 9.819%.




                                              Gnarus Advisors LLC
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                                                  Attachment 4

                                               Gravity Component
                                            All Alleged Violations


                      Number of                               Factor D Type
                       Alleged
     Month            Violations    Factor B         1.c.i         1.c.ii       1.c.iii      Penalty Amount



   June 2016                 2         1-3          0.5 - 1          -             -           $1,500 - $4,000


February 2017                8         4-6           2-3         0.25 - 0.5     0.5 - 1       $6,750 - $10,500


  March 2017                 4         2-3          0.8 - 2      0.25 - 0.5        -           $3,050 - $5,500


   April 2017                2         2-4         0.75 - 2          -             -           $2,750 - $6,000


   May 2017                  8        7 - 10         2-4         0.1 - 0.2      0.5 - 1       $9,600 - $15,200


   June 2017                 8         2-4           1-2         0.25 - 0.5    0.1 - 0.2       $3,350 - $6,700


Total of monthly gravity amounts1                                                           $27,000 - $47,900

Inflation amount1,2                                                                            $2,700 - $4,700

                         1
Final gravity amount                                                                        $29,700 - $52,600


Notes:
1. Rounded to the nearest $100.
2. Based on the 2016 Amendments to the EPA Civil Penalty Policies to Account for Inflation, which specifies an
inflation rate of 9.819%.




                                               Gnarus Advisors LLC
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                                             Attachment 5

                                   Rainfall Data for Selected Months1


    Month                Date               Rainfall (inches)

  June 2016
                          6/1/2016                             0
                          6/2/2016                          0.25
                          6/3/2016                          0.14
                          6/4/2016                          1.96
                          6/5/2016                          0.51
                          6/6/2016                          0.06
                          6/7/2016                             0
                          6/8/2016                             0
                          6/9/2016                             0
                         6/10/2016                             0
                         6/11/2016                           0.1
                         6/12/2016                             0
                         6/13/2016                          0.09
                         6/14/2016                             0
                         6/15/2016                             0
                         6/16/2016                             0
                         6/17/2016                             0
                         6/18/2016                          0.04
                         6/19/2016                          0.08
                         6/20/2016                             0
                         6/21/2016                             0
                         6/22/2016                             0
                         6/23/2016                             0
                         6/24/2016                             0
                         6/25/2016                             0
                         6/26/2016                             0
                         6/27/2016                           0.1
                         6/28/2016                          1.17
                         6/29/2016                          0.28
                         6/30/2016                             0
                              Total                         4.78

February 2017
                          2/1/2017                              0
                          2/2/2017                              0
                          2/3/2017                              0


                                               Gnarus LLC                              1
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                          2/4/2017                          0
                          2/5/2017                          0
                          2/6/2017                          0
                          2/7/2017                       2.24
                          2/8/2017                          0
                          2/9/2017                          0
                         2/10/2017                          0
                         2/11/2017                          0
                         2/12/2017                          0
                         2/13/2017                          0
                         2/14/2017                       0.01
                         2/15/2017                       0.01
                         2/16/2017                          0
                         2/17/2017                        0.1
                         2/18/2017                       0.47
                         2/19/2017                          0
                         2/20/2017                          0
                         2/21/2017                       0.62
                         2/22/2017                          0
                         2/23/2017                          0
                         2/24/2017                          0
                         2/25/2017
                         2/26/2017                         0
                         2/27/2017                         0
                         2/28/2017                         0
                              Total                      3.45

 March 2017
                          3/1/2017                          0
                          3/2/2017                       0.14
                          3/3/2017                          0
                          3/4/2017                          0
                          3/5/2017                       0.01
                          3/6/2017                          0
                          3/7/2017                          0
                          3/8/2017                       1.02
                          3/9/2017                          0
                         3/10/2017                       0.01
                         3/11/2017                          0
                         3/12/2017                       0.43
                         3/13/2017                       0.04
                         3/14/2017                          0
                         3/15/2017                          0
                         3/16/2017                          0
                         3/17/2017                          0
                         3/18/2017                          0


                                            Gnarus LLC                               2
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                         3/19/2017                          0
                         3/20/2017                          0
                         3/21/2017                          0
                         3/22/2017                          0
                         3/23/2017                          0
                         3/24/2017                          0
                         3/25/2017                       0.82
                         3/26/2017                          0
                         3/27/2017                          0
                         3/28/2017                          0
                         3/29/2017                          0
                         3/30/2017                       0.16
                         3/31/2017                          0
                              Total                      2.63

  April 2017
                          4/1/2017                          0
                          4/2/2017                          0
                          4/3/2017                       2.25
                          4/4/2017                          0
                          4/5/2017                       0.15
                          4/6/2017                          0
                          4/7/2017                          0
                          4/8/2017                          0
                          4/9/2017                          0
                         4/10/2017                          0
                         4/11/2017                          0
                         4/12/2017                          0
                         4/13/2017                          0
                         4/14/2017                          0
                         4/15/2017                          0
                         4/16/2017                          0
                         4/17/2017                          0
                         4/18/2017                          0
                         4/19/2017                          0
                         4/20/2017                          0
                         4/21/2017                          0
                         4/22/2017                          0
                         4/23/2017                       1.21
                         4/24/2017                          0
                         4/25/2017                          0
                         4/26/2017                          0
                         4/27/2017                       0.13
                         4/28/2017                          0
                         4/29/2017                          0
                         4/30/2017                       1.62


                                            Gnarus LLC                               3
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                              Total                      5.36

  May 2017
                          5/1/2017                       0.22
                          5/2/2017                          0
                          5/3/2017
                          5/4/2017                        2.6
                          5/5/2017                          0
                          5/6/2017                          0
                          5/7/2017                          0
                          5/8/2017                          0
                          5/9/2017                          0
                         5/10/2017                          0
                         5/11/2017                          0
                         5/12/2017                       1.42
                         5/13/2017                       0.07
                         5/14/2017                          0
                         5/15/2017                          0
                         5/16/2017                          0
                         5/17/2017                          0
                         5/18/2017                          0
                         5/19/2017                          0
                         5/20/2017                       0.16
                         5/21/2017                       0.82
                         5/22/2017                       0.13
                         5/23/2017                       0.77
                         5/24/2017                          0
                         5/25/2017                          0
                         5/26/2017                          0
                         5/27/2017                          0
                         5/28/2017                        0.1
                         5/29/2017                       0.03
                         5/30/2017                       0.47
                         5/31/2017                       1.25
                              Total                      8.04

  June 2017
                          6/1/2017                       0.04
                          6/2/2017                        0.1
                          6/3/2017                       0.45
                          6/4/2017                       0.05
                          6/5/2017                          0
                          6/6/2017                       2.61
                          6/7/2017                       0.52
                          6/8/2017                          0
                          6/9/2017                          0


                                            Gnarus LLC                               4
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                          6/10/2017                                0
                          6/11/2017                              0.1
                          6/12/2017                             0.02
                          6/13/2017                             0.49
                          6/14/2017                             0.72
                          6/15/2017                             0.01
                          6/16/2017                             0.98
                          6/17/2017                             0.44
                          6/18/2017                                0
                          6/19/2017                                0
                          6/20/2017                              1.4
                          6/21/2017                             6.63
                          6/22/2017                             1.35
                          6/23/2017                              0.3
                          6/24/2017                             1.08
                          6/25/2017                             0.02
                          6/26/2017                                0
                          6/27/2017                                0
                          6/28/2017                             0.18
                          6/29/2017                             5.45
                          6/30/2017                             0.02
                               Total                           22.96

Notes:

1. Data sourced from the NOAA Regional Climate Centers xmACIS2 database,
http://xmacis.rcc-acis.org/, for station name and ID as Biloxi, 220792. Last accessed
December 4, 2017.




                                                   Gnarus LLC                                          5
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                                              Attachment 6

                               Summary of Administrative Orders on Consent

                                                           Total Penalty Number of Penalty per
                                                                     1                    1
                        Case                    Date Filed   Amount        Sites      Site
Cannon Place, LLC                               9/30/2014         $110,300   2         $55,200
Lennar Homes, LLC                               6/15/2017          $55,000   1         $55,000
Holder, Hunt, Russell, Moody, A Joint
                                                9/30/2015          $45,000   1         $45,000
Venture New Atlanta Stadium Site
Standard Pacific of Florida GP                  9/13/2016          $42,000   1         $42,000
Dekalb Farmers Market                           8/1/2016           $41,300   1         $41,300
Edgewood Townhomes, LP                          5/28/2013          $40,000   1         $40,000
The Ryland Group                                9/30/2015          $24,000   1         $24,000
Wellington Development                          6/10/2016          $34,300   1         $34,300
Standard Pacific of Florida GP                  9/13/2016          $31,000   1         $31,000
Standard Pacific of Florida GP                  9/13/2016          $31,000   1         $31,000
Standard Pacific of Florida GP                  9/13/2016          $30,600   1         $30,600
Beazer Homes                                    9/29/2015          $30,000   1         $30,000
Standard Pacific of Florida GP                  9/13/2016          $27,600   1         $27,600
Campbell County School District Finance
                                                1/8/2013           $25,000   1         $25,000
Corporation
Standard Pacific of Florida GP                  9/13/2016          $24,900   1         $24,900
Costco Wholesale Corporation                    3/11/2015          $20,700   1         $20,700
Standard Pacific of Florida GP                  9/13/2016          $20,200   1         $20,200
Standard Pacific of Florida GP                  9/13/2016          $20,000   1         $20,000
Lennar Homes, LLC                               6/15/2017          $17,000   1         $17,000
Lennar Homes, LLC                               6/15/2017          $17,000   1         $17,000
Lennar Homes, LLC                               6/15/2017          $17,000   1         $17,000
Standard Pacific of Florida GP                  9/13/2016          $16,300   1         $16,300
Beazer Homes                                    9/29/2015          $13,500   1         $13,500
Lennar Homes, LLC                               6/15/2017          $13,000   1         $13,000
The Ryland Group                                9/29/2015          $12,000   1         $12,000
Allstate Paving, Inc.                           9/20/2016          $12,000   1         $12,000
Trawick Contractors, Inc.                       11/19/2013         $10,800   1         $10,800
Standard Pacific of Florida GP                  9/13/2016           $8,400   1          $8,400
Beazer Homes                                    9/29/2015           $5,200   1          $5,200
Overcash Gravel and Grading Co.                 3/29/2013           $1,100   1          $1,100


                                            Gnarus Advisors LLC                                  1
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Overcash Gravel and Grading Co.                      3/29/2013               $400        1                  $400
Overcash Gravel and Grading Co.                      3/29/2013               $300        1                  $300
Overcash Gravel and Grading Co.                      3/29/2013               $200        1                  $200

                                                 1
                                         Median                          $20,200                          $20,200
                                                 1
                                            Mean                         $24,200                          $22,500


Notes:

1. Rounded to the nearest $100.
2. All construction stormwater administrative settlement agreements in EPA Region 4 in the past 5 years




                                              Gnarus Advisors LLC                                                   2
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                                             Attachment 7

                                  Summary of Consent Decrees


                                            Total Penalty      SEP        Number of Penalty per
             Case                Date Filed   Amount          Amount        Sites      Site1
The Links at Columbia, LP
and Lindsey Construction         8/31/2011        $435,000                    1       $435,000
Company, Inc.

Missouri Highway
                                  4/8/2015        $750,000                    2       $375,000
Transportation Commission

Savoy Senior Housing Corp         1/7/2009        $300,000 $1,075,000         1       $300,000
Tamarack Resort LLC              3/12/2008        $185,000                    1       $185,000
F&R Contractors                  5/27/2015        $500,000                    3       $166,700
Granite Construction
                                  8/4/2010        $250,000                    2       $125,000
Company

Kansas Department of
                                  7/1/2013        $477,500                    4       $119,400
Transportation
Cooper Land Development          8/18/2009        $513,740                    5       $102,700
Ivory Homes, Ltd.                6/23/2014        $250,000                    5        $50,000
Colaska, Inc. d/b/a QAP           8/4/2010         $50,000                    1        $50,000
Home Depot USA, Inc.             2/26/2008      $1,300,000                   34        $38,200
Charleswood, Inc.               10/21/2009         $37,500                    1        $37,500
Allan Myers, Inc., et al          6/3/2015        $455,000                   14        $32,500
Zelmer, Inc. and Spencer
                                 7/21/2009         $25,000                    1        $25,000
Heights, LLC
Garden Homes et al.              5/29/2015        $225,000     $780,000      10        $22,500
Eastwood Construction, LLC,
                            5/13/2011              $60,000                    3        $20,000
et. al
Colorado Structures, Inc.        7/31/2008        $300,000                   16        $18,800
John Wieland Homes and
                                 4/28/2010        $350,000                   25        $14,000
Neighborhoods, Inc. et al.
State of Alaska, Department
of Transportation and Public     9/21/2010        $140,000     $850,000      10        $14,000
Facilities
Fafard Real Estate and
                                 7/21/2010        $150,000     $300,000      13        $11,500
Development Corp. et al.
NVR, Inc.                        6/15/2017        $425,000                   65         $6,500



                                             Gnarus Advisors LLC                                     1
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Beazer Homes USA, Inc.             12/2/2010        $925,000                     362     $2,600
Centex Homes                       7/30/2008      $1,485,000                     680     $2,200
KB Homes                           7/18/2008      $1,185,000                     532     $2,200
Hovnanian Enterprises, Inc.        4/20/2010      $1,000,000                     591     $1,700
M.D.C. Holdings, Inc.              6/17/2008        $795,000                     382     $2,100
Toll Brothers, Inc., et al.        6/20/2012        $741,000                     370     $2,000
The Ryland Group, Inc.             10/7/2011        $625,000                     278     $2,200
Pulte Homes, Inc.                  6/17/2008        $877,000       $608,000      608     $1,400

                       Median1                      $435,000                            $22,500
                               1
                         Mean                       $510,700                            $74,700


Notes:

1. Rounded to the nearest $100.
2. All construction stormwater consent decrees nationwide in the past 10 years




                                               Gnarus Advisors LLC                                    2
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                                                Attachment 8

                     Summary of Cases Brought by States and Citizens Groups


                                                      Date of Decision
                                                                                           1
                      Case                             or Judgment        Penalty Amount

Leeward Construction v. Department of
                                                          1/9/2003           $258,000
Environmental Protection

Hancock County Development (consent
                                                         8/23/2011            $95,000
judgment)


I-5 Properties v. Department of Ecology                  8/31/2009       Less than $82,000


Natural Resources Board v. Stratton
                                                        11/17/2016            $42,400
Corporation


                                                  1
                                            Median                       Less than $88,500

                                             Mean1                       Less than $119,350


Notes:
1. Rounded to the nearest $100.




                                              Gnarus Advisors LLC
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                                                                       Attachment 9

                                                          Documents Received and Considered


     Date                                             Document Title                                           Bates Beginning            Source
5/22/1990       Mississippi Standard Specifications for Road and Bridge Construction                                             Mississippi State
                                                                                                                                 Highway Commission
9/24/1991       Mississippi Supplemental Specifications to the 1990 Standard Specifications for Road and                         Mississippi State
                Bridge Construction                                                                                              Highway Commission
10/09/2001      Bidding Requirements and Conditions                                                                              City of Biloxi
1/9/2003        Leeward Constr. V. Dep't of Envtl. Protection, 821 A.2d 145
1/24/2008       Complaint, U.S. v. Tamarack Resort LLC (No. 08-40-MHW, D. Idaho)
2/26/2008       Consent Decree, U.S. and State of Colorado v. Home Depot USA, Inc. (No. 1:08-cv-00115,
                D. Del.)
3/12/2008       Consent Decree, U.S. v. Tamarack Resort LLC (No. 08-40-MHW, D. Idaho)
6/6/2008        Complaint, U.S. and State of Colorado v. Colorado Structures, Inc. (No. 08-CV-01217-MSK-
                KMT, D. Colo.)
6/17/2008       Consent Decree, U.S. et al. v. M.D.C. Holdings, Inc. et al. (No. 1:08-cv-00604-JCC-JFA,
                E.D. Va.)
6/17/2008       Consent Decree, U.S. et al. v. Pulte Homes, Inc. (No. 1:08-cv-00602-JCC-TRJ, E.D. Va.)

7/18/2008       Consent Decree, U.S. et al. v. KB Home (No. 1:08-cv-00603-JCC-TCB, E.D. Va.)
7/30/2008       Consent Decree, U.S. et al. v. Centex Homes (No. 1:08-cv-00605-JCC-JFA, E.D. Va.)
7/31/2008       Consent Decree, U.S. and State of Colorado v. Colorado Structures, Inc. (No. 08-CV-01217-
                MSK-KMT, D. Colo.)
9/22/2008       Complaint, U.S. v. Cooper Land Development (No. 08-0709-CV-W-SOW, W.D. Mo.)
1/7/2009        Savoy
5/21/2009       Complaint, U.S. v. Zelmer, Inc., and Spencer Heights, LLC (No. 09-4072, D.S.D.)
7/21/2009       Consent Decree, U.S. v. Zelmer, Inc., and Spencer Heights, LLC (No. 09-4072, D.S.D.)
8/18/2009       Consent Decree, U.S. v. Cooper Land Development (No. 08-0709-CV-W-SOW, W.D. Mo.)

8/28/2009       Complaint, U.S. v. Charleswood, Inc. (No. 3:09-CV-00080 (RRE-KKK), D.N.D.)
8/31/2009       I-5 Props. V. Dep't of Ecology, 2009 Wash. App. LEXIS 2179
10/21/2009      Consent Decree, U.S. v. Charleswood, Inc. (No. 3:09-CV-00080 (RRE-KKK), D.N.D.)
11/6/2009       Complaint, U.S. and State of Tennessee v. John Wieland Homes and Neighborhoods, Inc.
                (No. 3:09-cv-01066, M.D. Tenn.)
4/20/2010       Consent Decree, U.S. et al. v. Hovnanian Enterprises, Inc. (No. 2:10-cv-01742-TJS, E.D.
                Pa.)
4/28/2010       Consent Decree, U.S. and State of Tennessee v. John Wieland Homes and
                Neighborhoods, Inc. (No. 3:09-cv-01066, M.D. Tenn.)
6/2/2010        Complaint, U.S. v. Colaska, Inc. (No. 3:10-cv-00116-RRB, D. Alaska)
6/2/2010        Complaint, U.S. v. Granite Construction Company (No. 3:10-cv-00117-RRB, D. Alaska)
6/2/2010        Complaint, U.S. v. State of Alaska, Department of Transportation and Public Facilities (No.
                3:10-cv-00115-JWS, D. Alaska)
7/21/2010       Consent Decree, U.S. v. Fafard Real Estate and Development Corp. et al. (No. 10-40131,
                D. Mass.)
7/21/2010       Complaint, U.S. v. Fafard Real Estate and Development Corp. et al. (No. 10-40131, D.
                Mass.)
8/4/2010        Consent Decree, U.S. v. Colaska, Inc. (No. 3:10-cv-00116-RRB, D. Alaska)
8/4/2010        Consent Decree, U.S. v. Granite Construction Company (No. 3:10-cv-00117-RRB, D.
                Alaska)
9/21/2010       Consent Decree, U.S. v. State of Alaska, Department of Transportation and Public Facilities
                (No. 3:10-cv-00115-JWS, D. Alaska)
12/2/2010       Consent Decree, U.S. et al. v. Beazer Homes USA, Inc. (No. 3:10-cv-01133, M.D. Tenn.)

12/30/2010      Large Construction Storm Water General Permit forms                                                              MDEQ
2/15/2011       Complaint, U.S. v. Eastwood Construction, LLC, et al. (No. 3:11-cv-002200, W.D.N.C.)
2/22/2011       Partial Summary Judgment, Gulf Restoration Network v. Hancock County Development,
                LLC (No. 1:08-CV-00186-LG-RWH, S.D. Miss.)
5/13/2011       Consent Decree, U.S. v. Eastwood Construction, LLC, et al. (No. 3:11-cv-002200,
                W.D.N.C.)
8/23/2011       Consent Judgment, Gulf Restoration Network v. Hancock County Development, LLC (No.
                1:08-CV-00186-LG-RWH, S.D. Miss.)
8/31/2011       Links at Columbia
10/7/2011       Consent Decree, U.S. v. the Ryland Group, Inc. (No. 3:11-cv-00499, W.D.N.C.)
12/29/2011      City of Biloxi Contract Form                                                                                     City of Biloxi
1/2/2012        Letter from Morris to Torricelli Re: City of Biloxi, Infrastructure Repair Program - GRN4     GRN - 001790       MDEQ
1/27/2012       Letter from Morris to Torricelli Re: City of Biloxi, Infrastructure Repair Program - GRN5     GRN - 001761       MDEQ
6/20/2012       Consent Decree, U.S. v. Toll Brothers, Inc., et al. (No. 12-3489, E.D. Pa.)
11/2012         Specifications for Division 1 and 2



                                                                                                                                                        1
                                                                    Gnarus Advisors LLC
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    Date                                            Document Title                                         Bates Beginning            Source
2013-2014       Mississippi Department of Transportation Approved Permits                                                    Mississippi Department
                                                                                                                             of Transportation
1/8/2013        Advertisement for Bids                                                                                       City of Biloxi
1/8/2013        Consent Agreement and Final Order in the Matter of Campbell County School District                           EPA Region 4
                Finance Corporation
2/26/2013       Pre-Bid Meeting Agenda and Notes                                                                             City of Biloxi
3/29/2013       Consent Agreement and Final Order in the Matter of Overcash Gravel & Grading Co., Inc.,                      EPA Region 4
                Heartland Place Subdivision
3/29/2013       Consent Agreement and Final Order in the Matter of Overcash Gravel & Grading Co., Inc.,                      EPA Region 4
                Ja Jones Property
3/29/2013       Consent Agreement and Final Order in the Matter of Overcash Gravel & Grading Co., Inc.,                      EPA Region 4
                Whispering Winds Subdivision Phase 2
3/29/2013       Consent Agreement and Final Order in the Matter of Overcash Gravel & Grading Co., Inc.,                      EPA Region 4
                Yates Mill Subdivision
5/28/2013       Consent Agreement and Final Order in the Matter of Edgewood Townhomes, LP                                    EPA Region 4
7/1/2013        Consent Decree, U.S. v. The Kansas Department of Transportation (No. 13-4069 -
                KHV/DJW, D. Kan.)
7/1/2013        Complaint, U.S. v. The Kansas Department of Transportation (No. 13-4069 - KHV/DJW, D.
                Kan.)
11/19/2013      Consent Agreement and Final Order in the Matter of Trawick Contractors, Inc.                                 EPA Region 4
12/12/2013      Notice to Bidders No. 6                                                                                      City of Biloxi
2014-1/2017     Weekly SWPP Inspection Reports for Batch Plant, Division 1 & 2, GRN 1 & 2, GRN 3, GRN                        MDEQ
                4, GRN 5, GES 1 & 2, GRS 3 & 4, and SXSN
1/2014 -        City of Biloxi Specifications for the North Contract                                                         City of Biloxi
2/2014
1/2014 -        Specifications for Areas Division 1 and 2, GRN 1 and 2, GRN 3, GRN 4, GRN 5, GRS 1 and
2/2014          2, GRS 3 and 4, and SXSN
2/2014 -        Certificate of Permit Coverages and transmittal letters for Areas Division 1 and 2, GRN 4,
12/2014         GRS 1 and 2, GRS 3 and 4
2/2014          Specifications for the North Contract
2/13/2014       Letter from Villarreal to Torricelli Re: Department of the Army Nationwide Permit Number   ORC-CWA 001334    Department of the Army
                SAM-2013-01221-RCV, City of Biloxi Infrastructure Repair Project
2/26/2014       North Contract Pre-Bid Meeting Sign In Sheet                                                                 City of Biloxi
3/5/2014        Google map, Biloxi                                                                         ORC-CWA 054330
3/26/2014       Contract Addendum Documents                                                                                  City of Biloxi
4/8/2014        Bid Proposal Re: The North Contract Areas                                                  ORC-CWA 004969    Simmons Erosion
                                                                                                                             Control Inc
4/8/2014        Quotation for City of Biloxi Project                                                      ORC-CWA 004968     Hanes Geo
                                                                                                                             Components
4/9/2014        Certified Employment Plan Form for Certain Public Works Projects                                             City of Biloxi
6/9/2014        Transmittal Letter, Executed contract, bonds and insurance                                                   Oscar Renda
                                                                                                                             Contracting
6/17/2014       Transmittal Letter, Executed Notice of Award and Request for Permission to Subcontract                       City of Biloxi
6/19/2014       Contract Form                                                                                                City of Biloxi
6/23/2014       Consent Decree, U.S. v. Ivory Homes, Ltd. (No. 2:14-cv-00460BCW, D. Utah)
7/23/2014       Prime Contractor Certification applications for Areas SXSN, Division 1 and 2, GRN 1 and 2,                   Oscar Renda
                GRN 3, GRN 4, GRN 5, GRS 1 and 2, GRS 3 and 4 and transmittal letter                                         Contracting
7/28/2014       SWPP - All Phases Submittal                                                                ORC-CWA 001828    Oscar Renda
                                                                                                                             Contracting
8/1/2014        N. Biloxi Outfall Sheet Layout and Survey                                                 ORC-CWA 000073     TECE Engineering
8/1/2014        Outfall Structure Survey                                                                                     TICE Engineering
8/6/2014        Transmittal Letter, Completed LCNOI - All Phases                                                             Oscar Renda
                                                                                                                             Contracting
8/6/2014        Notice to Proceed Re: The North Contract                                                                     City of Biloxi
9/30/2014       Consent Agreement and Final Order in the Matter of Cannon Place, LLC                                         EPA Region 4
10/29/2014      Transmittal Letter, Outfall Structures
11/3/2014       Transmittal Letter, Outfall Structures Survey
2015            Monthly Baghouse Inspection form                                                                             Oscar Renda
                                                                                                                             Contracting
2015            Monthly Spill Log                                                                                            Oscar Renda
                                                                                                                             Contracting
2015-2016       DMR Quarterly Reports and correspondence on reports                                                          Oscar Renda
                                                                                                                             Contracting
1/6/2015        Emails from Nicole Dane to Tony Morrow transmitting certificates of permit coverages                         HNTB Companies
1/7/2015        Ready-Mix Concrete Notice of Intent                                                                          Oscar Renda
                                                                                                                             Contracting
2/2015          Certified Mail receipts, Contiguous Landowner Notices                                                        Oscar Renda
                                                                                                                             Contracting
2/6/2015        Email exchange between Jennifer Matranga and Latrina Williams Re: Contiguous                                 Oscar Renda
                Landowner Notifications                                                                                      Contracting
2/17/2015       Letter from Wilson Re: Ready-Mix Concrete Facility, Crawford Street, Biloxi                                  MDEQ



                                                                                                                                                      2
                                                                   Gnarus Advisors LLC
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     Date                                          Document Title                                             Bates Beginning           Source
3/11/2015       Consent Agreement and Final Order in the Matter of Costco Wholesale Corporation                                 EPA Region 4
3/23/2015       Email exchange between Tony Morrow and Caesar Ramirez Re: Batch Plant                                           Oscar Renda
                                                                                                                                Contracting
4/2015 -        GRN photographs and movies provided by counsel                                                                  GRN
9/2017
4/6/2015        Letter from Williams to Renda Re: Oscar Renda Contracting, Biloxi North Facility                                MDEQ
4/8/2015        Consent Decree, U.S. v. Missouri Highways and Transportation Commission (No. 2:15-cv-
                04069-NKL, D. Mo.)
4/8/2015        Complaint, U.S. v. Missouri Highways and Transportation Commission (No. 2:15-cv-04069-
                NKL, D. Mo.)
4/15/2015       Email from Tony Morrow to Joel Murrah Re: Batch Plant Site                                                      Oscar Renda
                                                                                                                                Contracting
4/16/2015       Letter from Wilson to Renda Re: Oscar Renda Contracting, Biloxi North Facility                                  MDEQ
4/16/2015       Complaint, U.S. et al., v. Allan Myers, Inc. et al. (No. 15-1992, E.D. Pa.)
5/27/2015       Consent Decree, U.S. v. F&R Contractors Corp. and F&R Contractors LLC (No. 3:15-cv-
                1666, D.P.R.)
5/27/2015       Complaint, U.S. v. F&R Contractors Corp. and F&R Contractors LLC (No. 3:15-cv-1666,
                D.P.R.)
5/29/2015       Consent Decree, U.S. v. Garden Homes et al. (No. 2:15-cv-03618-CCC-JBC, D.N.J.)
6/3/2015        Consent Decree, U.S. et al., v. Allan Myers, Inc. et al. (No. 15-1992, E.D. Pa.)
7/27/2015       Inspection Report of Ready-Mix Concrete Plants                                                                  Mississippi Department
                                                                                                                                of Transportation
7/27/2015       Certificate of Calibration                                                                                      Oscar Renda
                                                                                                                                Contracting
7/29/2015       Reports of Compressive Strength of Concrete Test Specimens                                                      Oscar Renda
                                                                                                                                Contracting
8/6/2015        Email exchange between Jennifer Matranga and Ralph Sullivan                                                     Oscar Renda
                                                                                                                                Contracting
8/7/2015        Transmittal Letter, 7 Day Break Results, Certificate of Calibration, MDOT Inspection Report                     Oscar Renda
                for Batch Plant                                                                                                 Contracting
8/10/2015       Transmittal Letter, 7 Day Break Results, Certificate of Calibration, MDOT Inspection Report                     Oscar Renda
                for Batch Plant                                                                                                 Contracting
8/27/2015       Transmittal Letter, Batch Plant 28 day breach                                                                   Oscar Renda
                                                                                                                                Contracting
9/21/2015       Letter to Permittees Re: New DMR Forms Enclosed                                                                 MDEQ
9/29/2015       Consent Agreement and Final Order in the Matter of Beazer Homes USA, Inc. Estates at                            EPA Region 4
                Bentley Ridge
9/29/2015       Consent Agreement and Final Order in the Matter of Beazer Homes USA, Inc., Trammel                              EPA Region 4
                Ridge
9/29/2015       Consent Agreement and Final Order in the Matter of Beazer Homes USA, Inc., Vistas at                            EPA Region 4
                Castleberry
9/29/2015       Consent Agreement and Final Order in the Matter of The Ryland Group, Inc. d/b/a Ryland                          EPA Region 4
                Homes, Lenox Overlook
9/30/2015       Reports of Compressive Strength of Concrete Test Specimens                                                      Bhate Geosciences
                                                                                                                                Corporation
9/30/2015       Consent Agreement and Final Order in the Matter of Holder, Hunt, Russell, Moody, A Joint                        EPA Region 4
                Venture
9/30/2015       Consent Agreement and Final Order in the Matter of The Ryland Group, Inc. d/b/a Ryland                          EPA Region 4
                Homes, Bridleton South
10/14/2015      Delivery slip, DIV2/Concrete Curb Testing                                                                       Oscar Renda
                                                                                                                                Contracting
12/4/2015       Sign-in sheet, Employee Stormwater Training                                                                     Oscar Renda
                                                                                                                                Contracting
2016            Monthly Baghouse Inspection form                                                                                Oscar Renda
                                                                                                                                Contracting
2016            Monthly Spill Log                                                                                               Oscar Renda
                                                                                                                                Contracting
1/25/2016       Annual Comprehensive Site Inspection and SWPP Evaluation Report                                                 MDEQ
3/4/2016        Email exchange between Jennifer Matranga and Joel Murrah Re: Sochem - dustguard                                 Oscar Renda
                                                                                                                                Contracting
4/23/2016 -     Photographs Produced by Oscar Renda Contracting                                                                 Oscar Renda
12/4/2016, or                                                                                                                   Contracting
no date
6/6/2016        Letter from Bailey to Murrah Re: Dusting Complaints                                                             MDEQ
6/7/2016        DMR Before Photographs
6/7/2016        Explanation of Work in Canal                                                                                    Oscar Renda
                                                                                                                                Contracting
6/10/2016       Consent Agreement and Final Order in the Matter of Wellington Development Company,                              EPA Region 4
                LLC
6/21/2016       Letter from Murrah to Bailey Re: Letter dated 6/6/2016, and draft letters                                       Oscar Renda
                                                                                                                                Contracting



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     Date                                            Document Title                                            Bates Beginning           Source
6/21/2016       Email from Matranga to Mitchell transmitting MDEQ letter                                                         Oscar Renda
                                                                                                                                 Contracting
6/21/2016       Email exchanges between Jennifer Matranga and Vicki Mitchell Re: MDEQ letter                                     Oscar Renda
                                                                                                                                 Contracting
8/1/2016        Consent Agreement and Final Order in the Matter of Delkab Farmers Market                                         EPA Region 4
9/13/2016       Consent Agreement and Final Order in the Matter of Bearss Grove AKA The Retreat at                               EPA Region 4
                Carrollwood, Standard Pacific of Tampa GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Cordoba Ranch, Standard Pacific of                            EPA Region 4
                Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Eagle Lake Subdivision 4B, Standard                           EPA Region 4
                Pacific of Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of The Reserve at Alaqua, Standard                               EPA Region 4
                Pacific of Florida GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Waterleaf Phases 1 & 2, Standard                              EPA Region 4
                Pacific of Tampa GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Waterside - Winter Garden, Standard                           EPA Region 4
                Pacific of Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Wiregrass Ranch 1A, Standard Pacific                          EPA Region 4
                of Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Wiregrass Ranch 1B, Standard Pacific                          EPA Region 4
                of Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Wiregrass Ranch 1C, Standard Pacific                          EPA Region 4
                of Florida, GP, Inc.
9/13/2016       Consent Agreement and Final Order in the Matter of Wiregrass Ranch 1D, Standard Pacific                          EPA Region 4
                of Florida, GP, Inc.
9/20/2016       Consent Agreement and Final Order in the Matter of Allstate Paving, Inc.                                         EPA Region 4
10/27/2016      Request for Termination of Construction Erosion and Sediment Control Inspections                                 MDEQ
10/28/2016      Ready-Mix Concrete General Permit application for Biloxi North                                                   Oscar Renda
                                                                                                                                 Contracting
10/29/2016      Discharge Monitoring Report                                                                                      Oscar Renda
                                                                                                                                 Contracting
11/17/2016      Natural Res. Bd. V. Stratton Corp., 2016 Vt. Super. LEXIS 123
11/29/2016      Letter from Byrd to Rodriguez Re: Inspection Report                                                              MDEQ
11/29/2016      Letter from Byrd to Rodriguez Re: Inspection Report                                                              MDEQ
2/21/2017       Letter from Wiygul to Renda Re: Notice of Intent to File Citizen Suit Under Section 505(b)(1)                    Waltzer Wiygul Garside
                of the Federal Water Pollution Control Act, 33 U.S.C. 1365(b)
4/27/2017       Complaint, Gulf Restoration Network v. Oscar Renda Contracting, Inc. (No. 1:17cv130LG-
                RHW, S.D. Miss.)
5/4/2017        Sand overtakes highway 90 again                                                               ORC-CWA 054332     Jonathan Brannan
5/12/2017       Application and Certificate for Payment Spreadsheet, April 2017                                                  Oscar Renda
                                                                                                                                 Contracting
5/16/2017       Letter from Byrd to Rodriguez Re: Notice of Violation                                  ORC-CWA 004948            MDEQ
6/13/2017       Letter from Burford to Matranga Re: MDEQ Notice of Violation Response                  ORC-CWA 052711            BECC
6/13/2017       Major Modification Form for Large Construction General Permit                          ORC-CWA 052727            MDEQ
6/15/2017       Consent Agreement and Final Order in the Matter of Lennar Homes, LLC Central Florida                             EPA Region 4
                Division, Concord Station
6/15/2017       Consent Agreement and Final Order in the Matter of Lennar Homes, LLC Central Florida                             EPA Region 4
                Division, Heritage Springs at Trinity
6/15/2017       Consent Agreement and Final Order in the Matter of Lennar Homes, LLC Central Florida                             EPA Region 4
                Division, Summerfield Crossing
6/15/2017       Consent Agreement and Final Order in the Matter of Lennar Homes, LLC Southwest Florida                           EPA Region 4
                Division, Bridgewater
6/15/2017       Consent Agreement and Final Order in the Matter of Lennar Homes, LLC Southwest Florida                           EPA Region 4
                Division, Riverstrand
6/15/2017       Consent Decree, U.S. v. NVR, Inc. (No. 2:17-cv-04346, D.N.J.)
6/23/2017       Dillon Expert Report Final                                                                                       Kevin S. Dillon
6/29/2017       Index to Initial Disclosures, Photo and Video                                                                    GRN
6/30/2017       Plaintiff's Initial Disclosures, Civil No. 1:17cv130LG-RHW                                                       GRN
7/8/2017        Application and Certificate for Payment Spreadsheet, June 2017                                                   Oscar Renda
                                                                                                                                 Contracting
7/28/2017       Biloxi map                                                                                    ORC-CWA 054331
8/10/2017       Spreadsheet, The North Contract                                                               ORC-CWA 004962     Oscar Renda
                                                                                                                                 Contracting
8/14/2017       Defendant's Responses to Plaintiff's First Set of Interrogatories, Civil No. 1:17cv130LG-                        Oscar Renda
                RHW                                                                                                              Contracting
8/22/2017       Defendant's Responses to Plaintiff's First Request for Production of Documents, Civil No.                        Oscar Renda
                1:17cv130LG-RHW                                                                                                  Contracting
9/20/2017       GRN's Responses to Defendant's First Set of Interrogatories to Plaintiff, Civil No.                              GRN
                1:17cv130LG-RHW
9/20/2017       Plaintiff's Responses to Defendant's First Request for Production of Documents to Plaintiff                      GRN




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     Date                                              Document Title                                           Bates Beginning           Source
9/27/2017       Memorandum Re: Site Visit to City of Biloxi Infrastructure Repair Project (MSR105846) on                          Austin Byrd
                9/26/2017
10/17/2017      GRN's Supplemental Responses to Defendant's First Set of Interrogatories to Plaintiff, Civil                      GRN
                No. 1:17cv130LG-RHW
10/17/2017      Exhibit 1 - GRN Responses to Oscar Renda's Interrogatory No. 1                                                    GRN
10/17/2017      Plaintiff's First Supplemental Responses to Defendant's First Request for Production of                           GRN
                Documents to Plaintiff, Civil No. 1:17cv130LG-RHW
10/24/2017      GRN's Second Supplemental Responses to Defendant's First Set of Interrogatories to                                GRN
                Plaintiff, Civil No. 1:17cv130LG-RHW
10/24/2017      Memorandum Re: Biloxi Stormwater Data Analysis Task                                                               Renee Robertson
10/25/2017      Pay Estimate Spreadsheet                                                                                          Oscar Renda
                                                                                                                                  Contracting
11/15/2017      Chart of ORC Bates Documents                                                                                      Oscar Renda
                                                                                                                                  Contracting
12/4/2017       Expert Report of James J. Connors                                                                                 James Connors
                IMG_7840
                Map: Area 11 GRN 4 Phase 4                                                                     GRN - 001820       City of Biloxi
                Map: Area 11 GRN 5 Phase 5                                                                     GRN - 001836       City of Biloxi
                North Contract Plans and Maps                                                                                     City of Biloxi
                Excerpt of Special Provision 907-108-1                                                                            City of Biloxi
                Letter from Fast to Renda Re: Notice of Violation/No Further Action                                               MDEQ
                Action Plan in Case of Rain Event                                                                                 Oscar Renda
                                                                                                                                  Contracting
                Redlined Plan Sheet                                                                                               City of Biloxi
                Large Construction Notice of Intent for Areas SXSN, GRN 1 and 2, GRS 3 and 4                                      Oscar Renda
                                                                                                                                  Contracting
                "MDEQ permit requirements" photographs provided by counsel                                                        Oscar Renda
                                                                                                                                  Contracting
                Sediment Pond Calculations                                                                                        Oscar Renda
                                                                                                                                  Contracting
                Biloxi Rain Data                                                                                                  James Connors
                MDEQ Scanned Files                                                                                                GRN
                Location of Past and Current Construction Sites Covered by the Settlements: EPA/DOJ                               EPA
                Settlements with Pulte Homes, Centex Homes, Richmond American Homes and KB Home




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                                                                    Gnarus Advisors LLC
